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11
12                       UNITED STATES DISTRICT COURT
13
14                     CENTRAL DISTRICT OF CALIFORNIA
15                                 (Eastern Division)
16
     MOSES HEREDIA,                           Case No.: 5:20-cv-02618-JWH-KKx
17
18               Plaintiff,                   SECONDTHIRD AMENDED
     vs.                                      COMPLAINT
19
20                               DEMAND FOR JURY TRIAL
     MTK GLOBAL SPORTS
21   MANAGEMENT, LLC; MTK GLOBAL
22   USA, LLC; GOLDEN BOY
     PROMOTIONS, INC.; PAUL D.
23   GIBSON; and DANIEL KINAHAN,
24
                 Defendants.
25
26
27
28                                     SECOND AMENDED
                                             -1-
     THIRD AMENDED COMPLAINT 1
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 1
 2         Plaintiff Mr. Moses Heredia (“Mr. Heredia” or “Plaintiff”) brings this
 3   Complaint against the Defendants MTK Global Sports Management, LLC
 4   (“MTK”), MTK Global USA, LLC (“MTK USA”), Golden Boy Promotions, Inc.
 5   (“GBP” or “Golden Boy”), Mr. Paul D. Gibson (“Mr. Gibson”), and Mr. Daniel
 6   Kinahan (“Mr. Kinahan”) (collectively, “Defendants”) and alleges, based on
 7   knowledge as to himself and his own acts and on information and belief as to all
 8   other matters, as follows:
 9                        FACTS AND NATURE OF THE CASE
10         1.     This dispute arises from Defendant’s (1) violation of Racketeering
11   Influenced and Corrupt Organization (RICO) Act 18 U.S.C. § 1962(a) Acquiring
12   an Interest in an Enterprise by Use of Income; (2) violation of RICO 18 U.S.C. §
13   1962(b) Acquiring or Maintaining an Interest in or Control of an Enterprise; (3)
14   violation of RICO 18 U.S.C. § 1962(c)     Conducting the Affairs of an Enterprise;
15   (4) violation of RICO 18 U.S.C. § 1962(d) Conspiracy to Conduct the Affairs of
16   an Enterprise; (5) tortious interference with Boxer Manager Contract between Mr.
17   Heredia and boxer, Mr. Joseph “JoJo” Diaz, Jr. (“Mr. Diaz”) (6) tortious
18   interference with promotion manager contract between Mr. Heredia and GBP, (7)
19   inducing breach of Boxer Manager Contract between the Mr. Heredia and Mr.
20   Diaz, (8) intentional interference with prospective economic relations, (9)
21   negligent interference with prospective economic relations, (10) tortious
22   interference with Boxer Manager contract between the Mr. Heredia and boxer, Mr.
23   Luis Feliciano (“Mr. Feliciano”), and (11) breach of implied covenant of good
24   faith and fair dealing concerning the promotion manager contract between Mr.
25   Heredia and GBP.
26         2.     Mr. Moses Heredia is a duly licensed boxing manager.
27         3.     Mr. Joseph “JoJo” Diaz, Jr. is a professional south paw boxer of
28                                     SECOND AMENDED
                                             -2-
     THIRD AMENDED COMPLAINT 2
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 1   Mexican decent and was the IBF super featherweight champion. A title he lost
 2   after failing to make weight for the bout on February 13, 2021. He is currently
 3   interim WBC lightweight world champion after his bout on July 9, 2021.
 4         4.     Mr. Diaz is represented by VGC, LLP, a law firm. VGC, LLP is also
 5   acting in concert with MTK / MTK USA to manage Mr. Diaz’s professional
 6   boxing career.
 7         5.     GBP is a properly registered and licensed boxing promotion company
 8   operating within the State of California. GBP and Mr. Heredia have done business
 9   with each other for nearly ten years.
10         6.     MTK, a Dubai, UAE, and British based company, holds itself out as
11   the “biggest force in business of boxing” in its capacity as a boxing management
12   and promotional company. Mr. Gibson works for MTK.
13         7.     MTK USA is a Delaware based limited liability company and upon
14   information and belief is a subsidiary of MTK. More information concerning the
15   nature of MTK USA’s relationship with MTK will be known after a reasonable
16   opportunity for further investigation or discovery.
17         8.     MTK was co founded and is in part owned and controlled by Mr.
18   Daniel Kinahan, a noted member of Ireland’s notorious Kinahan Cartel, also
19   known as the Kinahan Organized Crime Group (“KOCG”) by law enforcement
20   officials. More information concerning the nature of Mr. Kinahan’s involvement in
21   MTK will be known after a reasonable opportunity for further investigation or
22   discovery.
23         9.     Mr. Heredia managed Mr. Diaz, pursuant to a Boxer Manager
24   Contract, ID No. M 2017 0006, dated February 23, 2017. This contact was
25   properly executed on the two page preapproved from in the presence of Mr. Larry
26   Ervin, a representative of the California State Athletic Commission
27   (“Commission”), and later endorsed by Commission after review on February 24,
28                                     SECOND AMENDED
                                             -3-
     THIRD AMENDED COMPLAINT 3
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 1   2017. This contract was originally set to expire on February 22, 2022. However,
 2   the actions of the Defendants in this case caused the relationship between Mr.
 3   Heredia and Mr. Diaz to sour and become irreparable. Mr. Heredia learned that Mr.
 4   Diaz had signed an agreement with MTK / MTK USA. This document is titled as a
 5   “business advisory agreement,” however, MTK / MTK USA and its employees and
 6   agents with the assistance of VGC, LLP provided management services to Mr.
 7   Diaz, arranged two professional boxing bouts sanctioned by GBP, and caused Mr.
 8   Diaz to stop communicating with Mr. Heredia. The long standing relationship
 9   between Mr. Heredia and Mr. Diaz ended on August 4, 2020 when that agreement
10   was signed.
11         10.     Mr. Heredia asked for that agreement. Mr. Diaz, his counsel, VGC,
12   LLP, nor MTK / MTK USA provided the agreement to Mr. Heredia or his counsel.
13   Mr. Heredia moved for arbitration pursuant to the language of the Boxer Manager
14   Contract. After some delay, the arbitration was held on June 10, 2021. The
15   Executive Officer of the Commission found the parties could not resolve their
16   differences during the arbitration. In the arbitration decision the Executive Director
17   canceled the Boxer Manager Contract effective July 10, 2021.
18         1.      BackgroundMr. Heredia has known Mr. Diaz since he competed as
19   an amateur boxer prior to his qualification for the 2012 Summer Olympics. After
20   Mr. Diaz completed in the 2012 summer Olympic Games in London, he became a
21   professional boxer. Mr. Heredia managed Mr. Diaz’s boxing career for almost a
22   decade. During this time, Mr. Heredia brought Mr. Diaz three world championship
23   bouts and negotiated the 2017promotion agreement with GBP.
24         12.1. The Promotion Agreement Term Sheet with GBP was signed on
25   March 22, 2017. The promotion agreement is valid for five years and expires on
26   March 21, 2022. In the terms of the promotion agreement negotiated by Mr.
27   Heredia, Mr. Diaz received a $150,000 signing bonus and two bouts shortly after
28                                     SECOND AMENDED
                                             -4-
     THIRD AMENDED COMPLAINT 4
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 1   the signing of the agreement with purses of $150,000 and $200,000. The Executive
 2   Director of the Commission stated in his decision that this promotion agreement
 3   was “lucrative” for Mr. Diaz. The promotion agreement also contained a net
 4   proceeds clause should Mr. Diaz be the “A” side of a main event bout on Pay Per
 5   View (PPV).
 6         13.    The promotion agreement contains a no assignment clause for the
 7   boxer among other provisions which states: “Neither the benefits nor the duties of
 8   Boxer [Mr. Diaz] under this Agreement may be assigned or transferred for any
 9   reason.” The promotion agreement also requires Mr. Diaz to list his
10   representatives, if any. Mr. Diaz listed Moses Heredia and Ralph Heredia, Moses
11   brother, as his representatives.
12         14.    Mr. Diaz fought ten bouts pursuant to the Boxer Manager Contract
13   dated February 23, 2017 and his promotion agreement dated March 22, 2017.
14   There were no issues with the relationship for over three years. However, after
15   MTK / MTK USA induced the breach of the agreement, Mr. Diaz breached the
16   Boxer Manager Contract language for the tenth bout on February 13, 2021 by not
17   gaining the permission of his boxing manager, Mr. Heredia, and as he failed to pay
18   the 18% management fee to Mr. Heredia. Mr. Diaz breached the Boxer Manager
19   Contract again on July 9, 2021 by not gaining the permission of his boxing
20   manager, Mr. Heredia, and as he failed to pay the 18% management fee to Mr.
21   Heredia. These breaches by Mr. Diaz have been addressed in the arbitration at the
22   Commission that occurred on June 10, 2021.
23       15.1. The bouts on February 13, 2021 and July 9, 2021 were negotiated in
24   part by MTK / MTK USA and their employees and agents and VGC, LLP. MTK,
25   MTK USA, Mr. Kinahan, Mr. Gibson nor VGC, LLP possess the proper licensure
26   to perform either management or promotional services in California. MTK, Mr.
27   Kinahan, Mr. Gibson nor VGC, LLP hold no authority to perform management
28                                      SECOND AMENDED
                                              -5-
     THIRD AMENDED COMPLAINT 5
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 1   functions in the State of California. Further, U.S. law prohibits one company from
 2   providing both management and promotion services. See 15 U.S.C. § 6308.
 3         16.    “Manager” under California law, in relevant part:
 4         "means any person who does any of the following: (a) By contract,
 5         agreement, or other arrangement with any person, undertakes or has
 6         undertaken to represent in any way the interest of any professional
 7         boxer, or martial arts fighter in procuring, or with respect to the
 8         arrangement or conduct of, any professional contest in which boxer
 9         or fighter is to participate as a contestant; (b) Directs or controls the
10         professional boxing or martial arts activities of any professional
11         boxer or martial arts fighter ... ," Cal. Bus. & Prof. Code § 18628.
12         17.    On August 4, 2020, MTK USA signed what is titled and purported to
13   be a business advisory agreement with Mr. Diaz unbeknownst to Mr. Heredia.
14   Plaintiff became aware of the signing though a text message sent by Mr. Diaz to
15   Mr. Ralph Heredia, Plaintiff’s brother, on August 9, 2020 and later through press
16   releases and social media on August 12, 2020. Mr. Diaz texted Ralph Heredia on
17   August 9, 2020 stating: “I signed an advisory deal with MTK, it’s being
18   Announced tomorrow. I’m doing this for my career and feel like it’s the best
19   choice. It’s time for a change. [flexed arm emoji].” Thereafter Plaintiff and Ralph
20   Heredia called Mr. Diaz, but Mr. Diaz did not respond and stopped communicating
21   with Mr. Heredia.
22         18.1. Per the terms of the MTK USA purported business advisory
23   agreement, MTK USA advanced $100,000 to Mr. Diaz upon execution of the
24   agreement. This advance is to be repaid to MTK USA in three installments of
25   $33,333.33. Each installment is due after Mr. Diaz’s next three bouts. The
26   purported business advisory agreement states MTK USA is Mr. Diaz’s sole and
27   exclusive business advisor.
28                                      SECOND AMENDED
                                              -6-
     THIRD AMENDED COMPLAINT 6
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 1         19.1. Mr. Heredia asked Mr. Steve Bash to investigate this agreement. Mr.
 2   Bash is an attorney duly licensed in California that has assisted Mr. Heredia in the
 3   past. Mr. Bash got the phone number and called Mr. Robert Yalen, the CEO of
 4   MTK on or about August 13, 2020. Mr. Bash wanted to determine MTK and MTK
 5   USA’s intention with this agreement. During the phone call, Mr. Yalen claimed not
 6   to have knowledge of the MTK USA agreement with Mr. Diaz but stated he would
 7   inquire into it. However, Mr. Yalen is the signatory for MTK USA on the August
 8   4, 2020 agreement and is quoted in a press release dated August 12, 2020 stating
 9   “We are honoured to welcome a boxing superstar in world champion JoJo Diaz to
10   the team. His amazing record speaks for itself and he’s one of the best pound for
11   pound boxers in the world, so to have him sign with MTK Global is a massive
12   statement of intent in terms of our expansion into America. He currently holds the
13   IBF super featherweight belt, and we’re determined to help him build on that great
14   success.”
15         20.    On August 14, 2020, Mr. James Greeley of VGC, LLP, (“VGC”) a
16   law firm, reached out to Mr. Bash stating that Mr. Yalen asked him to get in touch.
17   Mr. Greeley stated he represented Mr. Diaz. Thereafter they had a call to discuss
18   MTK’s intention. Mr. Bash requested a copy of the MTK USA agreement which
19   was not provided. The MTK USA agreement was finally disclosed during the
20   arbitration on June 10, 2021.
21         21.    Mr. Diaz signed the MTK USA purported business advisory
22   agreement and ceased communication with Mr. Heredia he breached the Boxer
23   Manager Contract signed on February 23, 2017. Without the MTK USA agreement
24   and no communication from Mr. Diaz, Mr. Heredia sought to confirm his rights
25   under the Boxer Manager Contract. The terms of the Boxer Manager Contract
26   require that any dispute be submitted for arbitration within two weeks after the
27   origin of the dispute. In accordance with this provision, on August 20, 2020, Mr.
28                                     SECOND AMENDED
                                             -7-
     THIRD AMENDED COMPLAINT 7
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 1   Heredia filed an arbitration request with the Commission with respect to Mr.
 2   Diaz’s breach of contract pursuant to the terms of the Boxer Manager Contract and
 3   relevant statutory and regulatory provisions.
 4         22.1. The Boxer Manager Contract states, in relevant part: “Boxer [Mr.
 5   Diaz] Agrees … that Boxer will not, during the term of this agreement, take or
 6   engage in any boxing contests, exhibitions or training exercises without first
 7   having obtained the written permission of Manager [Mr. Heredia] to do so.” The
 8   Commission accepted the arbitration request, however, due to COVID 19 the
 9   arbitration did not take place until June 10, 2021.
10         23.1. On August 20, 2020 at around 8:00 pm, Mr. Greeley emailed Mr.
11   Bash asking for a phone call. On August 21, 2020, Mr. Bash responded that Mr.
12   Heredia requested not to have any further communications until the MTK USA
13   agreement is provided. A few hours later, Mr. Greeley responded stating various
14   claims against Mr. Heredia and requesting to see all offers from GBP. Shortly
15   thereafter, Mr. Bash responded by providing the information from GBP. During
16   this email exchange Mr. Greeley’s rhetoric continued to increase. At some point
17   after this email Mr. Greeley instructed GBP to communicate with him as Diaz’s
18   legal counsel   and not Mr. Heredia    and by September 14, 2020, Mr. Greeley
19   instructed Mr. Bash to tell Mr. Heredia not to have any communications with
20   Golden Boy that purport to be on Mr. Diaz’s behalf. Shortly thereafter, on October
21   7, 2020, a complaint by Mr. Diaz was filed and litigation ensued. See Docket #
22   5:20 cv 02332 JWH KK (C.D. Cal.).
23         24.    VGC, MTK’s proxy and or surrogate, in coordination with or on
24   behalf of MTK also stated in that lawsuit that Mr. Ralph Heredia is the manager of
25   Mr. Diaz and that Mr. Moses Heredia was a “paper manager.” VGC did so with
26   full knowledge and disregard for Mr. Diaz’s contractual obligations and without
27   compliance with any of the laws or regulations that provide the authority to do so.
28                                     SECOND AMENDED
                                             -8-
     THIRD AMENDED COMPLAINT 8
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 1   VGC also abandoned this position during the arbitration on June 10, 2021 as
 2   memorialized by the decision of the arbitrator.
 3         25.1. VGC in coordination with MTK also began to negotiate upcoming
 4   bouts with GBP’s counsel and directed GBP’s counsel to speak to Mr. Paul Gibson
 5   from MTK to arrange bouts for Mr. Diaz. VGC directed counsel for GBP to work
 6   with MTK and Mr. Paul Gibson. On November 11, 2020, VGC sent an email
 7   discussing the terms of a bout between Mr. Diaz and his mandatory Russian
 8   contender, among other things. In this email, VGC states, “I would suggest a call
 9   between the business teams at MTK and Golden Boy to discuss Mr. Diaz's future.
10   Please let me know who the appropriate contact would be at Golden Boy. Paul
11   Gibson would take the call on behalf of MTK.” No individual in VGC or MTK is
12   licensed to perform boxing management functions in the State of California. See
13   Cal. Bus. & Prof. Code § 18628; see generally 15 U.S.C. §§ 6301 6313.
14         26.1. VGC and MTK did this despite knowing that Mr. Diaz had a valid
15   Boxer Manager Contract with Mr. Heredia. More information concerning the
16   nature of the interactions between VGC, MTK, and GBP will be known after a
17   reasonable opportunity for further investigation or discovery.
18         27.    MTK and MTK USA’s purported business advisory agreement with
19   Mr. Diaz is seemingly only about business advisements. However, the actions of
20   Mr. Gibson, MTK / MTK USA and VGC facts show this is a boxing management
21   contract. Mr. Paul Gibson, an MTK employee directly negotiated the terms of a
22   bout between Mr. Diaz and Mr. Shavkatdzhon Rakhimov on February 13, 2021.
23   Further, Defendants negotiated for and arranged a second bout on July 9, 2021.
24         28.    The purse for the July 9, 2021 bout was set at $500,000 prior to the
25   June 10, 2021 arbitration. At the arbitration, the Executive Director foreshadowed
26   his upcoming decision and stated that Mr. Heredia will get 18% of this purse as
27   management fees. However, after the arbitration, when the Defendants were on full
28                                    SECOND AMENDED
                                            -9-
     THIRD AMENDED COMPLAINT 9
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 1   notice of the Executive Director’s intent, GBP in coordination with VGC and MTK
 2   / MTK USA presented an altered bout agreement to the Commission for a
 3   significantly lower amount than the $500,000 in an effort to reduce the amount of
 4   the payout to Heredia. The Commission rejected this attempt to interfere with the
 5   Boxer Manager Contract and disapproved the altered bout agreement. In his
 6   decision on July 10, 2021, the Executive Director ordered GBP to withhold
 7   $90,000 from Mr. Diaz’s purse.
 8          29.   MTK and MTK USA’s actions are definitional management services
 9   as defined by Cal. Bus. & Prof. Code §18628 provided to Mr. Diaz in violation of
10   the Boxer Manager Contract dated February 23, 2017.
11          30.   All attempts to resolve this matter with MTK have been met with
12   hostility.
13                                    Golden Boy’s Role
14          31.   GBP did two things: 1) GBP worked with VGC and MTK / MTK
15   USA to facilitate Mr. Diaz’s bouts despite being placed on full notice that neither
16   VGC, nor MTK / MTK USA have lawful authority to conduct and/or engage in the
17   management of Mr. Diaz through either contract or proper licensure, and 2) GBP
18   has engaged in a pattern and practice of soliciting fighters to come to GBP friendly
19   managers and drive them away from Mr. Heredia.
20                Golden Boy’s Facilitation of MTK / MTK USA and VGC
21          32.   GBP and Mr. Heredia have a long history. They have been working
22   together for several years. Notwithstanding their long business relationship and
23   GBP’s knowledge of MTK’s violations of the law, GBP has negotiated with MTK
24   as if MTK was the manager of Mr. Diaz in violation of the Muhammad Ali Boxing
25   Reform Act for its own financial gain.
26          33.   Mr. Gibson of MTK personally negotiated bouts between Mr. Diaz
27   and another fighter which is in direct violation of the Boxer Manager Contract
28                                     SECOND AMENDED
                                             -10-
     THIRD AMENDED COMPLAINT 10
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 11 of 70 Page ID
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 1   between Mr. Diaz and Mr. Heredia.
 2         34.    Through these negotiations, MTK and Mr. Diaz, advised by VGC,
 3   arranged for a bout on February 13, 2021 against Mr. Shavkatdzhon Rakhimov.
 4         35.    The bout’s payment structure was in accordance with the promotion
 5   agreement negotiated by Mr. Heredia. No deviation from the promotion agreement
 6   occurred. Because of MTK’s involvement and their purported $100,000 advance to
 7   Mr. Diaz. Mr. Diaz was in a worse financial position.
 8         36.    Prior to the February 13, 2021 bout, Mr. Diaz failed to make weight in
 9   his first and mandatory title defense. Because of the weight difference, Mr.
10   Rakhimov was not required to fight Mr. Diaz. Mr. Gibson from MTK however
11   negotiated directly with Mr. Rakhimov’s managers and promoters to pay additional
12   monies from Mr. Diaz’s purse to have the fight occur. These negotiations are in
13   direct violation of the Boxer Manager Contract and violate the statutory and
14   regulatory scheme enacted by the State of California. This also resulted in Mr.
15   Diaz having to forfeit his champion status regardless of how the fight went.
16   Further, Mr. Diaz had to pay fines to the Commission of $100,000 thereby
17   reducing the purse from $500,000 to $400,000.
18         37.    Further, Mr. Diaz, advised and aided by Mr. James Greeley of VGC
19   instructed GBP not to pay Mr. Heredia the 18% management fee per the Boxer
20   Manager Contract.
21         38.    GBP negotiated and worked with Mr. Paul Gibson and MTK for this
22   bout and did not communicate with Mr. Heredia.
23         39.    Mr. Heredia and GBP have an oral agreement concerning
24   disbursement of the manager fees. This agreement states that management fees are
25   paid directly from the purse of a bout. After negotiating with Mr. Gibson and
26   MTK, GBP did not follow oral agreement and prevented a $90,000.00 payment, or
27   a $72,000.00 payment as reduced by the weight failure, due to Plaintiff.
28                                    SECOND AMENDED
                                            -11-
     THIRD AMENDED COMPLAINT 11
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 1         40.1. During the arbitration on June 10, 2021, the Executive Director of the
 2   Commission found that Mr. Diaz and Mr. Heredia’s relationship was irreparably
 3   harmed. On July 10, 2021, the Executive Director through his decision canceled
 4   the remainder of the Boxer Manager Contract due to the irreparable nature of the
 5   relationship. Mr. Heredia has been harmed by the early termination of this contract.
 6   The early termination would not have occurred if MTK and MTK USA did not
 7   induce the breach of the Boxer Manager Contract and GBP did not facilitate or
 8   allow MTK, MTK USA, and Mr. Gibson to substitute as Mr. Diaz’s managers.
 9         1.     This case, at its core, arises from an effort undertaken by Mr. Kinahan
10   to present himself and his associates as legitimate business persons through the
11   establishment of “legitimate businesses” such as his various and numbered boxing
12   concerns to include MTK USA and MTK Global, to launder criminal proceeds,
13   and use those proceeds to “steal” fighters from the duly licensed promotors and
14   managers using their extraordinary financial wherewithal and “reputations” to
15   bully their way into the world of professional boxing. The infusion of cash into the
16   world of professional boxing took the industry by storm and Mr. Kinahan and his
17   associated businesses soon became a global the force to be reckoned with. One of
18   his businesses, MTK, after pillaging the European market then set its sights on the
19   United States. Mr. Kinahan and his surrogates targeted for acquisition Mr. Joseph
20   Diaz (“Mr. Diaz”), a recently-crowned world champion who was a fighter in a
21   lucrative weight class and who had strong marketability and profitability potential.
22   MTK found an ally for this acquisition in Golden Boy. Golden Boy and its agents,
23   in particular Robert Diaz and his counsel, had become increasingly hostile to Mr.
24   Heredia given his fierce negotiation positions taken on behalf of Mr. Diaz and their
25   other fighters to ensure fight purses were commensurate with their value and not in
26   line with Golden Boy’s approach to allocate the least amount of the purse possible
27   to the fighter so that Golden Boy’s profitability was maximized. Golden Boy had
28                                     SECOND AMENDED
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     THIRD AMENDED COMPLAINT 12
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 1   historically and unsuccessfully attempted to induce fighters to leave Mr. Heredia’s
 2   team, which was raised with Golden Boy leadership prior to Mr. Kinahan’s entry
 3   into the U.S. market.
 4   For eight years, Mr. Heredia managed Mr. Diaz’ boxing career, culminating in Mr.
 5   Diaz winning a world championship. Despite Mr. Heredia having had an exclusive
 6     boxer-manager contract with Mr. Diaz, the Defendants, most of whom were not
 7   licensed as a managers as required under California law, lured Mr. Diaz away from
 8    Mr. Heredia’s management, interfering with the boxer-manager contract between
 9      Mr. Heredia and Mr. Golden Boy’s Practice of Attempting to Solicit Fighters
10         2.    GBP attempted to poach fighters from Mr.Diaz, ultimately to Mr.
11   Heredia’s financial and professional detriment.
12         3.    Defendants MTK, Mr. Kinahan, and Mr. Gibson all have connections
13   with organized crime; Mr. Kinahan, in particular, is alleged by the United States
14   Government to be operating a “Transnational Criminal Organization” and was
15   recently designated as a Specially Designated National. Their actions in this case
16   are violations of the Racketeer Influenced and Corrupt Organizations (RICO) Act
17   and entitle Mr. Heredia to treble damages.
18         41.    Heredia. Mr. Heredia always negotiated hard to get the best possible
19   deal for the boxers he manages.
20         42.   GBP failed to provide market rate bouts to the boxers managed by Mr.
21   Heredia or to not put boxers managed by Mr. Heredia in career advancing fights,
22   or on fight cards that would garner significant media attention. GBP deliberately
23   and intentionally frustrated the careers of fighters managed by Mr. Heredia by
24   failing to secure fights opportunities as required under the promotional agreements
25   for these fighters which caused damages to Mr. Heredia.
26         43.   GBP sandbagged fighters managed by Mr. Heredia. Then GBP would
27   solicit these fighters to leave Mr. Heredia and join another manager. GBP created a
28                                     SECOND AMENDED
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     THIRD AMENDED COMPLAINT 13
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 1   contentious and conflicting relationship between Mr. Heredia and the boxers he
 2   managed because they were not getting the fights they believed they deserved.
 3   GBP used this rift to try and poach fighters and get them signed with managers that
 4   are more favorable to GBP. More information concerning the nature of GBP’s
 5   actions concerning fighters managed by Mr. Heredia will be known after a
 6   reasonable opportunity for further investigation or discovery.
 7          44.   GBP did not want to give Mr. Diaz a shot at the super featherweight
 8   title in a bout between Mr. Diaz and Mr. Tevin Farmer. Mr. Roberto Diaz from
 9   GBP attempted to state that Mr. Heredia and his brother Ralph turned down a fight
10   with the Mr. Tevin Farmer. However, this was a complete falsity.
11          45.   In order to ensure that Mr. Diaz’s interests were protected, Mr.
12   Heredia talked to representatives from Mr. Joseph Markowski of DAZN and Eddie
13   Hearn of Matchroom. He then sent an email including the representatives from
14   DAZN and Matchroom to Mr. Roberto Diaz from GBP and stated that Mr. Joseph
15   Diaz never turned down the Farmer fight.
16          46.   Only after this level of advocacy and showing that GBP did not want
17   this fight to occur, did the fight actually occur. GBP wanted to put up fighters from
18   other managers that did not negotiate as aggressively as Mr. Heredia.
19          47.   However, this was not the only incident of an attempt at poaching a
20   fighter or offering below market rate or lower class fights to boxers managed by
21   GBP.
22          48.   As stated above, Mr. Diaz and GBP have advertised bouts for Mr.
23   Diaz on February 13, 2021 and on July 9, 2021. This is yet another time MTK and
24   GBP have worked together and intentionally excluded Mr. Heredia Mr. Diaz’s
25   boxing manager.
26          49.   GBP did this not just with Mr. Diaz. GBP did this with many the
27   fighters managed by Mr. Heredia to include Mr. Luis Feliciano.
28                                     SECOND AMENDED
                                             -14-
     THIRD AMENDED COMPLAINT 14
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 1         50.    In August 2019 through the spring of 2020, GBP employees,
 2   including an individual name Mr. Ernie Gabon, approached Mr. Luis Feliciano.
 3   These conversations were not about anything to do with the promotion agreement
 4   between Mr. Feliciano and GBP. Rather they wanted to pry Mr. Feliciano away
 5   from Mr. Heredia and have him sign with another manager that is more favorable
 6   to GBP.
 7         51.    In response to this, Mr. Heredia spoke to Mr. Oscar De La Hoya, the
 8   Chairman and CEO of GBP and Mr. Eric Gomez, President of GBP, and told him
 9   to stop attempting to poach his fighters. Mr. De La Hoya and Mr. Eric Gomez who
10   assured them that it would not continue.
11         52.    But it did. After MTK induced Mr. Diaz to breach his contract, GBP
12   believed the time was right to attempt to poach fighters from Mr. Heredia again.
13         53.    Once again, GBP targeted Mr. Feliciano. In several communications
14   on November 17, Dec 1, Dec 11, and Dec 16, of 2020, Mr. Gabon of GBP, made
15   overtures to Mr. Feliciano and attempted to sow doubt in the mind of Mr. Feliciano
16   and encouraged him to leave Mr. Heredia. This not only interferes with the Boxer
17   Manager Contract between Mr. Feliciano but also causes harm to Mr. Heredia in
18   other ways. Mr. Heredia is a third party beneficiary to the promotion agreements
19   as his management fee is directly tied to the purses of the boxers he manages.
20         54.    This is also within the context of a deliberate course of activity to
21   suppress Mr. Feliciano’s opportunities, set him up for failure, and demand lower
22   purse amounts without any business justification.
23         55.    The audio messages in November and December followed difficult
24   negotiations that failed to secure an agreement.
25         56.    Promoters are to deal with the Manager and what GBP should have
26   done is communicate with either Mr. Heredia or have GBP’s counsel communicate
27   with Mr. Heredia’s counsel. The communications from Mr. Gabon to Mr. Feliciano
28                                     SECOND AMENDED
                                             -15-
     THIRD AMENDED COMPLAINT 15
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 16 of 70 Page ID
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 1   directly are interference, particularly under the circumstances of the relationship
 2   between Mr. Diaz and the Mr. Heredia and the breach with MTK.
 3                                        PARTIES
 4         57.4. Plaintiff Moses Heredia is an individual residing in San Bernardino
 5   County, California.
 6         5.     Defendant MTK Global Sports Management, LLC, is a Dubai, UAE
 7   business entity with license number 785135 and having its registered office at PO
 8   Box 454833, Al Barsha Post Office, Dubai, United Arab Emirates. MTK Global
 9   Sports Management, LTD, is a wholly owned subsidiary of MTK Global Sports
10   Management, LLC operating out of the United Kingdom with its principal place of
11   business at 20-22 Wenlock Road, London, England, N1 7GU. MTK stands for
12   “Mack the Knife.” MTK recently changed its name to Global Promotion
13   Management LTD in the United Kingdom. However, MTK still is operating and
14   doing business as “MTK Global.” See https://mtkglobal.com/. On or about April
15   20, 2022, and because of its connections with Mr. Kinahan, MTK announced that it
16   was completely shutting down at the end of April, 2022.
17         59.6. Defendant MTK Global USA, LLC is a Delaware limited liability
18   company, with a registered agent, Paracorp Incorporated, at 2140 S Dupont HWY,
19   Camden, DE 19934. Upon information and belief, MTK controls MTK USA.
20         60.7. Defendant Golden Boy Promotions, Inc., is a California corporation
21   with its principal place of business at 626 Wilshire Blvd, Suite 350, Los Angeles,
22   CA 90017.
23         61.8. Defendant Paul D. Gibson is MTK’s Chief Strategy Officer and an
24   individual residing in Alicante, Valencian Community, Spain.
25         62.9. Defendant Daniel Kinahan is a co-founder and owner of MTK and an
26   individual residing in Dubai, UAE.
27         10.    On April 11, 2022, the U.S. Treasury Department’s Office of Foreign
28                                     SECOND AMENDED
                                             -16-
     THIRD AMENDED COMPLAINT 16
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 17 of 70 Page ID
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 1   Assets Control (OFAC) designated the Kinahan Organized Crime Group (KOGC),
 2   as a “Transnational Criminal Organization,” and designated Mr. Kinahan, along
 3   with several other KOCG members, as Specially Designated Nationals. The U.S.
 4   accused the KOGC of smuggling deadly narcotics, including cocaine, to Europe,
 5   and declared it “a threat to the entire licit economy through its role in international
 6   money laundering.”
 7         11.    In a statement, the U.S. said Mr. Kinahan runs the day-to-day
 8   operations of the organization. As part of the sanctions, OFAC prohibited any U.S.
 9   persons or businesses from working with Mr. Kinahan or any member of the
10   KOGC.
11         12.    The United States Government offered a $5 million reward each for
12   information that will lead to the “financial destruction” of the KOGC or the arrest
13   and conviction of its three leaders, including Mr. Kinahan.
14         63.13. Each and every Defendant was the agent, servant, employee, joint
15   venture, partner, subsidiary, and/or co-conspirator of each other Defendant, and in
16   performing or failing to perform the acts alleged herein each Defendant was acting
17   individually as well as through and in the foregoing alleged capacity within the
18   course and scope of such agency, employment, joint venture, partnership,
19   subsidiary, and/or conspiracy.
20                             JURISDICTION AND VENUE
21         64.14. This Court has subject matter jurisdiction over this action pursuant to
22   18 U.S.C. § 1964(c) and 28 U.S.C. § 1331.
23         65.15. Venue is proper in this judicial district pursuant to 18 U.S.C. § 1965
24   and 28 U.S.C. § 1391 because a substantial part of the events or omissions giving
25   rise to the claim occurred in this district. Defendants MTK, Mr. Gibson, and Mr.
26   Kinahan do substantial business in this judicial district, hashave substantial
27   minimum contacts with this judicial district, and/or intentionally availed itself of
28                                      SECOND AMENDED
                                              -17-
     THIRD AMENDED COMPLAINT 17
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 1   the benefits and protections of California law through the promotion, sale,
 2   marketing, and provision of services in California; See 18 U.S.C. § 1965 (“Any
 3   civil action or proceeding under this chapter against any person may be instituted
 4   in the district court of the United States for any district in which such person
 5   resides, is found, has an agent, or transacts his affairs.”). Further, Venue is. Venue
 6   is also proper in this judicial district pursuant to 28 U.S.C. § 1391 because
 7   Defendant GBP is subject to personal jurisdiction in this judicial district and
 8   resideresides in this district.
 9                          FEDERAL AND CALIFORNIA LAW
10          16.    Under Federalfederal law, the term “boxing manager” means a
11   “person who receives compensation for service as an agent or representative of a
12   boxer.” See 15 U.S.C. § 6301.
13          66.17. Under California law, the term “boxing manager” means, “any person
14   who … undertakes … to represent in any way the interest of any professional
15   boxer … .” Cal. Bus. & Prof. Code § 18628. A boxing manger must be properly
16   licensed within the State of California to execute his/her duties under the law. See
17   Cal. Bus. & Prof. Code § 18642; 4 CCR § 216.
18          18.    Under Federalfederal law, the term “boxing promoter” means “the
19   person primarily responsible for organizing, promoting, and producing a
20   professional boxing match.” 15 U.S.C. § 6301.
21          19.    Under California law, the term “boxing promoter” means “a
22   corporation, partnership, association, individual, or other organization which
23   conducts, holds, or gives a boxing or martial arts contest, match, or exhibition.”
24   Cal. Bus. & Prof. Code § 18622.
25          20.    Federal law creates a “firewall” between managers and promoters in
26   order to protect the boxer. 15 U.S.C. § 6308. Like
27          21.    As with a manager contractmanagers, promoters are required to have
28                                      SECOND AMENDED
                                              -18-
     THIRD AMENDED COMPLAINT 18
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 19 of 70 Page ID
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 1   a license. Cal. Bus. & Prof. Code § 18641; see also 4 CCR § 213.
 2           67.22. A licensed promoter may do business with other licensed promoters.
 3   Cal. Bus. & Prof. Code § 18668.
 4           68.23. Violations of the federal Professional Boxing Safety Act of 1996
 5   (PBSA), as amended by the Muhammad Ali Boxing Reform Act of 2000 (“Ali
 6   Act”) carry with it civil and criminal penalties. See, generally, 15 U.S.C. §
 7   6309.The public policy behind the statutory scheme, inter alia, is to ensure
 8   transparency with respect to how a boxer receives income.
 9                                    INTERFERENCE
10           MTK and MTK USA presented BRIEF STATEMENT OF FACTS
11           69.   Mr. Diaz with an offending management agreement, titled as a
12   purported business advisory agreement that was signed on or about August 4,
13   2020.
14           70.   MTK and/or its agents engaged in direct negotiations with GBP in full
15   disregard for and Mr. Diaz’s contractual obligations and the federal and state laws
16   governing the profession of boxing.
17           71.   MTK and GBP have interfered to the point of scheduling two bouts.
18   One on February 13, 2021 between Mr. Diaz and his mandatory contender without
19   any input from or communication with or the consent of Mr. Heredia. The second
20   bout occurred on July 9, 2021 between Mr. Diaz and Mr. Javier Fortuna. This bout
21   was scheduled without involvement or the consent of Mr. Heredia.
22           72.   MTK, MTK USA, or VGC further advised or directed Mr. Diaz to
23   direct GBP not to pay Mr. Heredia the contractual payment of 18%.
24           73.   GBP negotiated with Mr. Paul Gibson and MTK in creating the
25   February 13, 2021 bout and did not communicate with Mr. Heredia.
26           74.   Further, due to Mr. Diaz’s failure to make weight MTK and Mr.
27   Gibson negotiated with the management/promotion team for Mr. Shavkatdzhon
28                                     SECOND AMENDED
                                             -19-
     THIRD AMENDED COMPLAINT 19
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 1   Rakhimov in order to keep the fight scheduled.
 2           75.   GBP also aided and assisted with these negotiations and worked with
 3   MTK and Mr. Gibson as if they were Mr. Diaz’s managers in complete disregard
 4   for Plaintiff’s valid, enforceable, and exclusive management contract with Mr.
 5   Diaz.
 6           76.   GBP negotiated with MTK and its employees and agencts in creating
 7   the July 9, 2021 bout and did not communicate with Mr. Heredia.
 8           77.   MTK runs an operation out of the Dubai Economic Zone, as discussed
 9   below, and is overseen by Mr. Daniel Kinahan who also resides in Dubai, UAE.
10   More information concerning the nature of Mr. Kinahan’s involvement in MTK
11   will be known after a reasonable opportunity for further investigation or discovery.
12                 A. MTK and MTK USA are interfering with Plaintiff’s had a long-
13                    standing and successful boxer-manager relationship.
14           24.   Mr. Heredia has known Mr. contract between Mr. Heredia and Mr.
15   Diaz and interfering with Plaintiff’s promotion contract with GBP. Mr. Heredia is
16   a third party beneficiary of the promotion agreement. MTK is acting as Mr. Diaz’s
17   boxing manager and excluding Mr. Heredia. Mr. Heredia is listed as the
18   representative for Mr. Diaz on the Golden Boy promotion agreement. MTK is
19   directly negotiating with GBP, Mr. Diaz’s boxing promoter. Both GBP and MTK
20   are excluding Mr. Heredia from conversations and negotiations involving Mr. Diaz
21   since Mr. Diaz competed as an amateur boxer prior to his qualification for the 2012
22   Summer Olympics. After Mr. Diaz completed in the 2012 Summer Olympic
23   Games in London, he became a Diaz. professional boxer.
24           78.   Mr. Heredia managed Mr. Diaz’s boxing career for almost a decade.
25   During this time, Mr. Heredia brought Mr. Diaz three world championship bouts
26   and negotiated the VGC facilitated this by coordinating between GBP and MTK
27   regarding negotiations including direct negations which directly benefit MTK and
28                                    SECOND AMENDED
                                            -20-
     THIRD AMENDED COMPLAINT 20
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 21 of 70 Page ID
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 1   GBP.
 2          79.   MTK is flooding the U.S. marketplace for the purpose of cornering
 3   the professional boxing market in an identical approach taken in Europe, further
 4   exacerbated by disrespecting US law and tortuously interfering with contracts with
 5   impunity, violating the Ali Act firewall provisions, and not obtaining the required
 6   licensure or complying with the various statutory requirements associated the roles
 7   of manager and promoter. MTK has in the past few months signed over eight US
 8   boxers and several dozen across the globe. MTK states it is a global management
 9   and promotion company but is having boxers sign management agreements using
10   the title “advisory” in an unguarded attempt to avoid legal scrutiny without basis in
11   statutory law. However, MTK’s agreements are management or promotion
12   agreements based on the applicable definitions and MTK’s conduct.
13          80.   MTK and MTK USA interfered by providing a financial inducement
14   to Mr. Diaz. MTK provided a $100,000 advance to Mr. Diaz which is repayable
15   over his next three bouts. This advance is essentially a loan to Mr. Diaz which
16   impacts his future earnings and mortgages his future away, which is why the
17   Federal Government and the State of California created statutes and regulations to
18   protect boxers. George Foreman Associates, Ltd. v. Foreman, 389 F.Supp 1308,
19   1314 (1974) (“The statutes and regulations indicate a clear purpose to safeguard
20   boxers against the temptation to mortgage their futures in exchange for relatively
21   meager present consideration.”).
22          81.   GBP has disregarded its contractual obligations with respect to the
23   2017 promotional agreement with respect to Plaintiff. Further, GBP has contacted
24   at least one other boxer managed by Mr. Heredia, Luis Feliciano, on multiple
25   occasions as recently as December 16, 2020 in violation and disregard of other
26   agreements. This interference is a byproduct of MTK’s trampling on Plaintiff’s
27   rights something that GBP is allowing and attempting to profit from.
28                                      SECOND AMENDED
                                              -21-
     THIRD AMENDED COMPLAINT 21
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 1         25.   This tortious and unlawful activities continue unto present day. 2017
 2   Promotion Agreement with GBP.
 3         26.   Diaz and GBP signed the Promotion Agreement on March 22, 2017.
 4   The Promotion Agreement expired on March 21, 2022.
 5         27.   The terms of the Promotion Agreement provided Mr. Diaz with a
 6   $150,000 signing bonus and guaranteed two bouts with purses of $150,000 and
 7   $200,000 shortly after the signing of the agreement.
 8         28.   In his later arbitration award, the Executive Director of the California
 9   State Athletic Commission (“Commission”) stated that this Promotion Agreement
10   was “lucrative” for Mr. Diaz. The Promotion Agreement also contained a net
11   proceeds clause should Mr. Diaz be the “A” side of a main event bout on Pay-Per-
12   View (PPV).
13         29.   The Promotion Agreement contained a “no assignment” clause for the
14   boxer, which stated: “Neither the benefits nor the duties of Boxer [Mr. Diaz] under
15   this Agreement may be assigned or transferred for any reason.”
16         82.   The Promotion Agreement also required Mr. Diaz to list his
17   representatives, if any. Mr. Diaz listed Moses Heredia and Ralph HerediaDiaz to
18   include a bout on July 9, 2021 where Mr. Diaz fought Javier Fortuna.
19         83.   MTK, MTK USA, their agents, and GBP are openly and notoriously
20   interfering with the boxing management contract between Mr. Diaz and Mr.
21   Heredia and the boxing promotional contract between Mr. Diaz, Mr. Heredia, and
22   GBP. Further, MTK and MTK USA caused Mr. Diaz to breach his Boxer Manager
23   contract with Mr. Heredia.
24        FACTUAL ALLEGATIONS COMMON TO ALL RICO COUNTS
25         30.   .
26         31.   Mr. Diaz fought ten bouts under Mr. Heredia’s management, pursuant
27   to a Boxer-Manager Contract dated February 23, 2017 (“2017 Contract”) and his
28                                    SECOND AMENDED
                                            -22-
     THIRD AMENDED COMPLAINT 22
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 1   Promotion Agreement dated March 22, 2017. At all times relevant to this
 2   Complaint, the 2017 Contract between Mr. Heredia and third-party Mr. Diaz was
 3   valid. The existence of this 2017 Contract was public knowledge, being listed on
 4   the Commission’s website, and all Defendants knew of the 2017 Contract. There
 5   were no issues with the relationship for over three years, until the Defendants in
 6   this case lured Mr. Diaz away from Mr. Heredia’s management.
 7                B. Mr. Kinahan, through MTK and its affiliates, is deeply
 8                   connected to professional boxing and is also an international
 9                   narco-terrorist, who has recently been sanctioned by the
10                   United States Government as a result of his involvement in
11                   criminal activity to include money laundering, and which also
12                   resulted in the seizure of Mr. Kinahan’s assets by the United
13                   Arab Emirates.
14         32.    MTK was co-founded by Mr. Daniel Kinahan. Mr. Daniel Kinahan is
15   known asalleged to run the headday-to-day operations of the Kinahan Organized
16   Crime Group (“KOCG”) in Ireland. The KOCG is allegedly responsible for, inter
17   alia, several murders, drug trafficking, and money laundering. (criminal activity).
18   The KOCG is believed to be one of Europe’s biggest drugcriminal cartels. Law
19   enforcement experts believebelieves that Mr. Daniel Kinahan started various
20   legitimate business entities to launder ill-gotten gains from criminal activity
21   resulting in some of them already being placed on a sanctioned list. As a result of
22   Mr. Kinahan’s being sanctioned, any person or business engaging in business with
23   him and his entities may be subject to the same consequences; MTK Global has
24   suffered from a complete exodus of fighters and business to business relationships
25   resulting in their decision to cease operations as of the end of April, 2022. More
26   information concerning the nature of Mr. Kinahan’s involvement in MTK and
27   money laundering will be known after a reasonable opportunity for further
28                                     SECOND AMENDED
                                             -23-
     THIRD AMENDED COMPLAINT 23
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 1   investigation or discovery.
 2         33.    Law enforcement believes that Mr. Kinahan started MTK to launder
 3   ill-gotten gains from drug trafficking.criminal activity . More information
 4   concerning the nature of Mr. Kinahan’s involvement in MTK and money
 5   laundering will be known after a reasonable opportunity for further investigation or
 6   discovery.
 7         84.34. Mr. Daniel Kinahan is wanted for questioning by several law
 8   enforcement agencies due to the murderous activities of the KOCG. On or about
 9   September 16, 2018, the United States Customs and Border Protection (CBP)
10   banned Mr. Kinahan and roughly 26 other members of the KOCG from entering
11   America due to narco-terrorism concerns. See e.g.
12   https://www.thetimes.co.uk/article/america bans the kinahan crime family
13   r7bbbntll; https://www.thesun.ie/news/5456085/cartel boss daniel kinahan
14   banned us placed on list narco terrorists/.
15         85.35. In 2016, Mr. Kinahan fled Ireland to Dubai, UAE after a boxing
16   match he promoted ended in violence at the Regency Hotel in Dublin, Ireland.
17   During that boxing match, several masked gunmen fired AK-47s into the crowd,
18   killedkilling one person, and injuredinjuring several more. This shooting iswas an
19   alleged to be a plot to killattempt on Mr. KinahanKinahan’s life by a rival crime
20   family. See e.g. https://www.ringtv.com/603461 buzz and scrutiny build
21   regarding mtk global and daniel kinahan/.
22         36.    On April 11, 2022, the U.S. Treasury Department’s Office of Foreign
23   Assets Control (OFAC) designated the Kinahan Organized Crime Group as a
24   “Transnational Criminal Organization,” and designated Mr. Kinahan, along with
25   several other KOCG members, as Specially Designated Nationals.
26         37.    OFAC accused the KOGC of smuggling deadly narcotics, including
27   cocaine, to Europe, and declared it “a threat to the entire licit economy through its
28                                     SECOND AMENDED
                                             -24-
     THIRD AMENDED COMPLAINT 24
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 25 of 70 Page ID
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 1   role in international money laundering.”
 2         38.    In a statement, OFAC stated that Mr. Kinahan runs the day-to-day
 3   operations of the organization.
 4         39.    As part of the sanctions, OFAC prohibited any U.S. persons or
 5   businesses from working with Mr. Kinahan or any member of the KOGC. The
 6   U.S. has offered a $5 million reward each for information that will lead to the
 7   “financial destruction” of the KOGC or the arrest and conviction of each of its
 8   leaders, including Mr. Kinahan.
 9         40.    The United Arab Emirates (UAE) has joined in what has now become
10   a global investigation into the life and accused crimes of Mr. Kinahan. The UAE
11   froze all identified assets of the Kinahan Organized Crime Group along with
12   issuing sanctions on Mr. Kinahan as well as his known associates: his father
13   Christopher Vincent ‘Christy’ Kinahan Sr., and his brother Christy Jr.
14         41.    U.S. businesses are already forbidden from conducting business with
15   Mr. Kinahan and the six others named as key members of the KOCG, along with
16   three identified businesses.
17         42.    UAE has taken the same measures, which will greatly impact what
18   has become a growing boxing scene in Dubai. For example, Mr. Kinahan
19   developed a relationship with a fledgling UAE promotional company called
20   “Probellum.” Probellum recently held a two-night event in March 2022 attended
21   by Mr. Kinahan as well as Rai Taimoor Khan, the Provincial Minister of Punjab
22   for Youth Affairs, Sports, Archaeology and Tourism.
23         43.    Khan tweeted pictures he took with Mr. Kinahan and associate Sandra
24   Vaughan, and mentioning a meeting with “Probellum on aligning vision on boxing
25   for Punjab & how to make this sport bigger for our youth. Looking forward to
26   hosting Daniel in Lahore to discuss Pakistan’s first International fight with foreign
27   world class boxers InshAllah. Will share more info in the upcoming weeks.”
28                                     SECOND AMENDED
                                             -25-
     THIRD AMENDED COMPLAINT 25
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 26 of 70 Page ID
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 1         44.    Vaughan purchased MTK Global from Matthew Macklin – Kinahan’s
 2   close friend and a former middleweight title challenger – in 2017. The company
 3   was known as MGM Marbella at the time before being renamed to MTK (“Mack
 4   The Knife,” after Macklin’s ring moniker).
 5         45.    Vaughan assumed the role of CEO before stepping down from the
 6   position in 2020, though she and Kinahan remain at least friendly, and influential
 7   enough for the Punjabi provincial minister to believe they represented Probellum in
 8   their meeting.
 9         46.    The matter was admitted by Probellum officials as a mistaken
10   classification once OFAC announced its sanctions against Mr. Kinahan.
11                C. Mr. Kinahan controls MTK and its affiliates.
12         47.    MTK has claimed that it cut ties with Mr. Kinahan in 2017. This
13   claim is belied by the boxing word’s near-immediate reaction to Mr. Kinahan’s
14   being sanctioned by OFAC.
15         48.    MTK USA may have been the contracting party with Mr. Diaz but all
16   of the interactions regarding his fights and Mr. Diaz’s matters were directed by
17   MTK personnel to include Paul Gibson as reflected in emails exchanges between
18   VGC and Golden Boy.
19         49.    Within days OFAC’s designation of Mr. Kinahan as a Specially
20   Designated National, and despite Mr. Kinahan denying connections to any co-
21   defendant MTK entity, the boxing world has dropped Mr. Kinahan and co-
22   defendant MTK knowing that their continued connection to Mr. Kinahan and his
23   businesses would endanger their liberty and financial interests.
24         50. Indeed, shortly after Mr. Kinahan’s designation as a Specially
25   Designated National, co-defendant MTK announced on its website,
26   www.mtkglobal.com, “Since leading promoters have now informed us that they
27   will be severing all ties with MTK and will no longer work with our fighters, we
28                                     SECOND AMENDED
                                             -26-
     THIRD AMENDED COMPLAINT 26
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 27 of 70 Page ID
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 1   have taken the difficult decision to cease operations at the end of this month.”
 2            51.   In an exclusive interview with an Irish news organization, Top Rank
 3   founder and chairman Mr. Bob Arum said: “We all know what MTK was and who
 4   controlled it and once the US spoke as forcefully as they did, nobody involved in
 5   boxing was going to have anything to do with them.”
 6            52.   Asked if Mr. Kinahan, to his knowledge, continues to be involved in
 7   running MTK, Mr. Arum stated: “A hundred per cent. He founded it, it’s his
 8   company.” Mr. Arum further added, “He can say what he wants, I know for fact
 9   from some of the stuff that he did, that it was his company – whatever the books
10   said.”
11            53.   Mr. Arum had done business with Mr. Kinahan and MTK but he cut
12   ties with both after OFAC’s April 11, 2022 designations of Mr. Kinahan and the
13   KOCG.
14            54.   Despite the strong evidence that Mr. Kinahan ran or operated MTK,
15   Mr. Kinahan represented to this Court otherwise under penalty of perjury on March
16   14, 2022, stating, “I do not work for and am not employed by MTK Global Sports
17   Management, LLC, MTK Global USA, LLC, Golden Boy Productions, Inc.,
18   Golden Boy Promotions, Inc., VGC, LLP, or Paul D. Gibson.” [ECF 73-1]
19                  D. MTK, its affiliates, and Mr. Kinahan laundered proceeds from
20                        Mr. Kinahan’s and KOCG’s criminal activities to pay the
21                        money through MTK and MTK USA to help lure Mr. Diaz
22                        away from Mr. Heredia’s management.
23            86.   55.     On August 4, 2020, MTK USA, through an employee of MTK,
24   signed what is titled and purported to be a business advisory agreement with Mr.
25   Diaz, unbeknownst to Mr. Heredia. Mr. Heredia became aware of the signing
26   though a text message sent by Mr. Diaz to Mr. Ralph Heredia, Mr. Heredia’s
27   brother, on August 9, 2020 and later through press releases and social media on
28                                       SECOND AMENDED
                                               -27-
     THIRD AMENDED COMPLAINT 27
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 1   August 12, 2020. Mr. Diaz texted Ralph Heredia on August 9, 2020 stating: “I
 2   signed an advisory deal with MTK, it’s being Announced tomorrow. I’m doing this
 3   for my career and feel like it’s the best choice. It’s time for a change. [flexed arm
 4   emoji].” This was an intentional act by Defendants MTK, MTK USA, Mr.
 5   Kinahan, and Mr. Gibson designed to induce a breach or disruption of the
 6   contractual relationship between Mr. Heredia and Mr. Diaz, and it did in fact
 7   breach or disrupt the contractual relationship between Mr. Heredia and Mr. Mr.
 8   Daniel Kinahan is currently living in Dubai, UAE where he continues to arrange
 9   boxing matches and act in a management capacity to MTK. See e.g.
10   https://www.insider.com/tyson fury splits from reputed drugs boss daniel
11   kinahan 2020 6; https://www.sportscasting.com/what we know about tyson furys
12   advisor daniel kinahan a suspected 1 1 billion drug lord/. More information
13   concerning the nature of Mr. Kinahan’s involvement in MTK will be known after a
14   reasonable opportunity for further investigation or discovery.
15           87.   The Racketeering Influenced and Corrupt Organizations (RICO) Act
16   allows for a wronged plaintiff to sue in civil court for damages. See 18 U.S.C. §
17   1964.
18           Diaz. The 2017 Contract would otherwise have been performed but for
19   these Defendants’ alleged misconduct.
20           56.   Per the terms of the MTK USA purported business advisory
21   agreement with Mr. Diaz, MTK USA advanced $100,000 to Mr. Diaz upon
22   execution of the agreement. These funds are believed to be the proceeds of
23   criminal activity generated by Mr. Kinahan and his KOCG, laundered through
24   MTK, Mr. Kinahan, and his KOCG.
25           57.   At all relevant times MTK received or obtained the money used to pay
26   Mr. Diaz, either directly or indirectly from a pattern of racketeering activity by Mr.
27   Kinahan’s laundering of proceeds from his and his KOCG’s criminal activities.
28                                      SECOND AMENDED
                                              -28-
     THIRD AMENDED COMPLAINT 28
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 1   More information concerning the nature of Mr. Kinahan’s involvement in MTK
 2   will be known after a reasonable opportunity for further investigation or discovery.
 3         88.    58.   . More information concerning the nature of Mr. Kinahan’s
 4   involvement in MTK will be known after a reasonable opportunity for further
 5   investigation or discovery. MTK is associated with Mr. Daniel Kinahan and the
 6   Kinahan Organized Crime Group (“KOCG”).his KOCG. The KOCG is an
 7   association-in-fact that operates one of Europe’s largest drug traffickingcriminal
 8   cartels and money laundering networksoperations according to several law
 9   enforcement agencies. Mr. Kinahan co founded MTK with Matthew “Mack The
10   Knife” Macklin. Mr. Mr. Kinahan co-founded MTK with Matthew “Mack The
11   Knife” Macklin. Mr. Kinahan conceived and co-founded MTK in an attempt to
12   launder illicit proceeds from drug traffickingcriminal activity through a seemingly
13   lawful business. At this time we have no indication that Mr. Macklin knowingly
14   participated in any of Mr. Kinahan’s criminal enterprise activity. He, along with
15   numerous other boxing professionals, is under scrutiny by U.S. authorities was
16   recently denied entry into the United States as a result of the U.S. Treasury’s recent
17   actions against Mr. Kinahan and his KOCG. More information concerning the
18   nature of Mr. Kinahan’s involvement in MTK and money laundering will be
19   known after a reasonable opportunity for further investigation or discovery.
20         89.    However, this attempt failed in 2016 when during a boxing match
21   promoted by Mr. Kinahan ended in violence as a rival crime family, believed to be
22   the Hutch Family, began shooting the crowd. In the aftermath of that shooting and
23   feeling the pressure from several law enforcement agencies, Mr. Kinahan fled from
24   Ireland to Dubai, UAE and continued to operate MTK by creating the Dubai, UAE
25   wing of MTK. In 2017, MTK made attempts on paper to sever the ties between
26   MTK and Mr. Kinahan. However, recent reports        as recent as November 2020
27   still indicate that Mr. Kinahan is running MTK from Dubai, UAE. See e.g.
28                                     SECOND AMENDED
                                             -29-
     THIRD AMENDED COMPLAINT 29
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 1   https://www.belfasttelegraph.co.uk/news/northern ireland/barry mcguigan in
 2   warning to boxing over kinahan grip after frampton case 39750316.html.59.
 3         MTK received or obtained money, either directly or indirectly, from
 4   criminal activity and money laundering through its association with Mr. Kinahan.
 5   More information concerning the nature of Mr. Kinahan’s involvement in MTK
 6   will be known after a reasonable opportunity for further investigation or discovery.
 7         “Racketeering activity” is an act that violates certain statutes enumerated in
 8   18 U.S.C. § 1961. “Racketeering activity” is also called a “predicate act.” See
 9   Living Designs, Inc. v. E.I. Dupont de Nemours & Co., 431 F.3d 353, 361 (9th Cir.
10   2005). Drug trafficking and money laundering are both listed in 18 U.S.C. § 1961.
11   Here, MTK received or obtained money, either directly or indirectly, from drug
12   trafficking and money laundering through its association with Mr. Kinahan. More
13   information concerning the nature of Mr. Kinahan’s involvement in MTK will be
14   known after a reasonable opportunity for further investigation or discovery. Mr.
15   Kinahan continues to arrange boxing 60.      At all times relevant to this third
16   amended Complaint, Mr. Kinahan continued to arrange boxing matches that
17   involved MTK fighters. These matches that involve MTK fighters. These matches
18   are were steeped in money obtained from drug trafficking and money laundering.
19   MTK Mr. Kinahan’s and KOCG’s criminal activity and these monies were
20   siphoned off Mr. Kinahan’s and KOCG’s criminal activity proceeds and then
21   useslaundered through MTK as what are presented as legitimate business expenses.
22   MTK then used this money to attempt to bring in more fighters and arrange more
23   fights so that more drug traffickingcriminal activity proceeds can be laundered
24   through what appears tocould be laundered through what appeared to be a
25   legitimate business.
26                61.   MTK’s thirst for new boxers supportssupported the KOCG’s
27   money laundering needs. This thirst has brought MTK to the US market and to the
28                                     SECOND AMENDED
                                             -30-
     THIRD AMENDED COMPLAINT 30
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 1   interference with Mr. Diaz and Mr. Heredia. More information concerning the
 2   nature of Mr. Kinahan’s involvement in MTK will be known after a reasonable
 3   opportunity for further investigation or discovery.
 4         90.    Diaz and Plaintiff. More information concerning the nature of Mr.
 5   Kinahan’s involvement in MTK will be known after a reasonable opportunity for
 6   further investigation or discovery.
 7         91.    A “62.        MTK engaged in a pattern of racketeering activity”
 8   means that a defendant, such as MTK, committed at least two distinct predicate
 9   acts. “Distinct” does not have to mean different types. A pattern of racketeering
10   activity must include related predicate acts. Predicate acts are “related” to one
11   another if they have the same or similar purposes, results, participants, victims, or
12   methods. Here, MTK has approached by approaching several US fighters and
13   offered similar “marketing advisor” arrangements. More information concerning
14   the nature of MTK’s entry into the U.S. boxing market will be known after a
15   reasonable opportunity for further investigation or discovery. MTK sometimes
16   does this with the knowledge and consent of the fighters boxing manager. On other
17   occasions, such as this current dispute, it is a hostile attempt to peel a boxer or
18   sport fighter away from his or her managers. MTK holds Mr. Diaz out on its
19   website as one of its boxers and has publicly tweeted about the February 13, 2021
20   mandatory title defense bout. This bout was apparently arranged between MTK
21   and GBP, both of whom have not included Mr. Diaz’s manager, Mr. Heredia in the
22   conversation.
23         A pattern of63.      MTK’s racketeering activity also requires predicate acts
24   showing “continuity.” Continuity can be demonstrated in two ways. The first is
25   “close ended” continuity where the related predicate acts extend over a substantial
26   period of time. The second is “open ended” continuity where the related predicate
27   acts do not occur over a substantial period of time but are likely to be repeated in
28                                      SECOND AMENDED
                                              -31-
     THIRD AMENDED COMPLAINT 31
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 1   the future. Here, MTK continues to involve itself in drug traffickingcriminal
 2   activity and money laundering through its association with Mr. Kinahan.
 3         92.    These acts are likely to be repeated in the future. MTK
 4   advertisesadvertised on its website that it is one of the biggest forces in boxing and
 5   is encouraging children as young as 15 to sign up with them to get more and more
 6   boxers in their graspsits control to continue the money laundering operation. This
 7   also includes a drive to become a dominant player in the United States as MTK
 8   continues its expansion into the United States. More information concerning the
 9   nature of MTK’s entry into the U.S. boxing market will be known after a
10   reasonable opportunity for further investigation or discovery.
11         64.    MTK has participated as a principal in the pattern of racketeering
12   activity. MTK either committed or aided, abetted, counseled, commanded,
13   induced, or procured the commission of several predicate acts that form a pattern
14   of racketeering activity. More information concerning the nature of Mr. Kinahan’s
15   involvement in MTK will be known after a reasonable opportunity for further
16   investigation or discovery.
17         93.    65.    MTK also willfully caused the commission of two or more
18   alleged predicate acts that make up the pattern of racketeering activity. MTK
19   committed these predicate acts with intent or knowledge. MTK knows that Mr.
20   Kinahan is involved in drug traffickingcriminal activity and money laundering and
21   yet MTK still associates with Mr. Kinahan and does business regularly with Mr.
22   Kinahan. Further, MTK itself is engaged in predicate acts when it provedprovided
23   these illicit funds to Mr. Diaz.
24         94.    66.    MTK uses the income or proceeds derived from the
25   racketeering activity to acquire, maintain, or operate an enterprise. An “enterprise”
26   may consist of an individual, partnership, corporation, association, or other legal
27   entity. Here, MTK has attempted to acquire an interest in Mr. Joseph Diaz, as a
28                                      SECOND AMENDED
                                              -32-
     THIRD AMENDED COMPLAINT 32
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 33 of 70 Page ID
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 1   professional boxer. MTK provided Mr. Diaz $100,000 to induce him to breach his
 2   contract with Plaintiff without proper licensure, contractual, or lawful authority.
 3   These funds are directly or indirectly derived from racketeering activity as
 4   described above. MTK receives funds directly or indirectly from Mr. Kinahan
 5   which are derived from racketeering activity such as drug trafficking and money
 6   laundering. MTK itself is laundering the illicit proceeds of the KOCG drug
 7   trafficking enterprise. More information concerning the nature of Mr. Kinahan’s
 8   involvement in MTK and money laundering will be known after a reasonable
 9   opportunity for further investigation or discovery.
10         67.    MTK receives funds directly or indirectly from Mr. Kinahan, which
11   are derived from racketeering activity such as criminal activity and money
12   laundering. MTK itself is laundering the illicit proceeds of the KOCG criminal
13   activity enterprise. More information concerning the nature of Mr. Kinahan’s
14   involvement in MTK and money laundering will be known after a reasonable
15   opportunity for further investigation or discovery.
16         95.    68.      MTK is engaged in interstate and foreign commence. They areIt
17   is a foreign business entity operating in the United States, namely California. MTK
18   is using and abusing US law in an attempt to gain a foothold in a lucrative market
19   to continue theirits money laundering operation. More information concerning the
20   nature of Mr. Kinahan’s involvement in MTK and money laundering will be
21   known after a reasonable opportunity for further investigation or discovery.
22         The acts of MTK, Mr. Kinahan, and Mr. Gibson have caused damage to
23   Plaintiff. MTK: they used laundered racketeering income to injure Plaintiff. To
24   establish standing
25                E. MTK USA, with MTK and GBP, improperly lured Mr. Diaz
26                      from Mr. Heredia’s management and unlawfully negotiated
27                      bouts for a civil RICO claim, four factors must Mr. Diaz.
28                                       SECOND AMENDED
                                               -33-
     THIRD AMENDED COMPLAINT 33
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 1          69.   On August 4, 2020, MTK USA, through an employee of MTK, signed
 2   what is titled and purported to be satisfied: a business advisory agreement with Mr.
 3   Diaz, unbeknownst to Mr. Heredia. This was an intentional act by Defendant GBP
 4   designed to induce a breach or disruption of the contractual relationship between
 5   Mr. Heredia and Mr. Diaz, and it did in fact breach or disrupt the contractual
 6   relationship between Mr. Heredia and Mr. Diaz. The 2017 Contract would
 7   otherwise have been performed but for the Defendant’s alleged misconduct.
 8          70.   Mr. Heredia became aware of the signing though a text message sent
 9   by Mr. Diaz to Mr. Ralph Heredia, Mr. Heredia’s brother, on August 9, 2020 and
10
     later through press releases and social media on August 12, 2020. Mr. Diaz texted
11
     Ralph Heredia on August 9, 2020 stating: “I signed an advisory deal with MTK,
12
     it’s being Announced tomorrow. I’m doing this for my career and feel like it’s the
13
     best choice. It’s time for a change. [flexed arm emoji].”
14
            71.   Thereafter Mr. Heredia and Ralph Heredia called Mr. Diaz, but Mr.
15
     Diaz did not respond and stopped communicating with Mr. Heredia.
16
17          72.   After Mr. Diaz signed the “business advisory” agreement, GBP and a

18   law firm, VGC, LLP (“VGC”) negotiated for Mr. Diaz to engage in a title defense

19   on February 13, 2021. Emails and letters between GBP and VGC in November
20   2010 demonstrate that individuals from these entities were directly negotiating,
21   while cutting out Mr. Heredia from the negotiations, despite the 2017 Contract
22   being valid and in full force and effect at that time.
23          73.   Mr. Heredia was not involved in scheduling the fight and did not
24   provide his written permission for the bout, despite the 2017 Contract requiring
25   him to do so. Mr. Diaz failed to make weight prior to the fight and was stripped of
26   his title.
27
            74.   Although the fight went forward as scheduled, Mr. Diaz was required
28                                      SECOND AMENDED
                                              -34-
     THIRD AMENDED COMPLAINT 34
     Case 5:20-cv-02618-JWH-KK Document 85-2 Filed 04/29/22 Page 35 of 70 Page ID
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 1   to pay a $100,000 penalty (20% of his purse) for missing weight. The fight ended
 2   in a draw, taking Diaz’ record to 33-1-1. Per the 2017 Contract, Heredia should
 3   have received 18% ($72,000) of Mr. Diaz’ reduced purse from the fight.
 4         75.    Mr. Diaz still has not paid Mr. Heredia that required sum, and Mr.
 5   Heredia has had to file a California state court action to enforce this portion of the
 6   arbitration award.
 7         76.    While the 2017 Contract was still valid and in full force and effect
 8   between Mr. Heredia and Mr. Diaz, GBP negotiated another bout for Mr. Diaz, this
 9   one on July 9, 2021.
10
           77.    With GBP freezing out Mr. Heredia from communicating with his
11
     fighter, Mr. Diaz, Mr. Heredia was also not involved in scheduling this fight and
12
     did not provide his required written permission for the bout.
13
           78.    Mr. Diaz’ purse for the July 9, 2021 fight was $500,000. Per the 2017
14
     Contract, Heredia was entitled to 18% ($90,000) of Mr. Diaz’ purse from the fight.
15
           79.    In an arbitration over Mr. Diaz’ breach of the 2017 Contract, the
16
17   arbitrator decided in favor of Mr. Heredia. Mr. Diaz did not pay Mr. Diaz that sum

18   until 10 days after ordered to in the arbitration award.

19         80.    During the course of the arbitration process, GBP in coordination with
20   VGC and MTK / MTK USA, presented an altered bout agreement to the
21   Commission for a significantly lower amount than the $500,000 in an effort to
22   reduce the amount of the payout to Mr. Heredia. The Commission rejected this
23   attempt to interfere with the 2017 Contract and disapproved the altered bout
24   agreement.
25         81.    In his decision on July 10, 2021, the Executive Director ultimately
26   ordered GBP to withhold $90,000 from Mr. Diaz’s purse, which was 18% of the
27
     full $500,000 bout payout to Mr. Diaz.
28                                      SECOND AMENDED
                                              -35-
     THIRD AMENDED COMPLAINT 35
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 1         82.     The bouts on February 13, 2021 and July 9, 2021 were negotiated in
 2   part by MTK / MTK USA and their employees and agents and VGC. None of
 3   MTK, MTK USA, Mr. Kinahan, Mr. Gibson, nor VGC possesses the proper
 4   licensure to perform either boxing management or promotional services in
 5   California.
 6         83.     These representations also violated US federal law, which prohibits
 7   one company from providing both boxing management and promotion services.
 8   See 15 U.S.C. § 6308.
 9         84.     As detailed further below, per the terms of the MTK USA purported
10
     “business advisory” agreement with Mr. Diaz, MTK USA advanced $100,000 to
11
     Mr. Diaz upon execution of the agreement. Plaintiff mustThese funds are believed
12
     to be laundered proceeds of criminal activities conducted by Mr. Kinahan and his
13
     KOCG.
14
           85.     The purported business advisory agreement states MTK USA is Mr.
15
     Diaz’s sole and exclusive business advisor.
16
17         86.     MTK and MTK USA’s purported business advisory agreement with
18   Mr. Diaz is seemingly only about business advisements. However, the actions of
19   Mr. Gibson, MTK / MTK USA and VGC show this is actually a boxing
20   management contract. Mr. Paul Gibson, an MTK employee, directly negotiated the
21   terms of a bout between Mr. Diaz and another fighter, Mr. Shavkatdzhon
22   Rakhimov, on February 13, 2021. Further, these Defendants negotiated for and
23   arranged a second bout on July 9, 2021.
24         87.     Mr. Heredia asked Mr. Steve Bash, an attorney duly licensed in
25   California, to investigate this “business advisory” agreement.
26         88.     Mr. Bash called Mr. Bob Yalen, CEO of MTK on August 30, 2020.
27   Mr. Yalen claimed not to have knowledge of the MTK USA agreement with Mr.
28                                     SECOND AMENDED
                                             -36-
     THIRD AMENDED COMPLAINT 36
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 1   Diaz but stated he would inquire into it.
 2         89.    However, Mr. Yalen is the signatory for MTK USA on the August 4,
 3   2020 agreement and is quoted in a press release dated August 12, 2020 stating “We
 4   are honoured to welcome a boxing superstar in world champion JoJo Diaz to the
 5   team. His amazing record speaks for itself and he’s one of the best pound for
 6   pound boxers in the world, so to have him sign with MTK Global is a massive
 7   statement of intent in terms of our expansion into America. He currently holds the
 8   IBF super-featherweight belt, and we’re determined to help him build on that great
 9   success.”
10         90.    On August 14, 2020, Mr. James Greeley of VGC reached out to Mr.
11   Bash stating that Mr. Yalen asked him to get in touch. Mr. Greeley stated he
12   represented Mr. Diaz. Thereafter they had a call to discuss MTK’s intention. Mr.
13   Bash requested a copy of the MTK USA agreement, which was not provided.
14         91.    On August 20, 2020 at around 8:00 pm, Mr. Greeley emailed Mr.
15   Bash asking for a phone call. On August 21, 2020, Mr. Bash responded that Mr.
16   Heredia requested not to have any further communications until the MTK USA
17   agreement is provided.
18         92.    A few hours later, Mr. Greeley responded stating various claims
19   against Mr. Heredia and requesting to see all offers from GBP. Shortly thereafter,
20   Mr. Bash responded by providing the information from GBP. During this email
21   exchange Mr. Greeley’s rhetoric continued to increase. At some point after this
22   email Mr. Greeley instructed GBP to communicate with him as Diaz’s legal
23   counsel—and not Mr. Heredia—and by September 14, 2020, Mr. Greeley
24   instructed Mr. Bash to tell Mr. Heredia not to have any communications with
25   Golden Boy that purport to be on Mr. Diaz’s behalf.
26         93.    VGC abandoned this position during the arbitration on June 10, 2021
27   as memorialized by the decision of the arbitrator.
28                                     SECOND AMENDED
                                             -37-
     THIRD AMENDED COMPLAINT 37
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 1         94.    Shortly thereafter, on October 7, 2020, a complaint by Mr. Diaz was
 2   filed and litigation ensued. See Docket No. 5:20-cv-02332-JWH-KK (C.D. Cal.).
 3         95.    The MTK USA “business advisory” agreement was finally disclosed
 4   during the arbitration on June 10, 2021.
 5         96.    When Mr. Diaz signed the MTK USA purported business advisory
 6   agreement and ceased communication with Mr. Heredia, he breached the 2017
 7   Contract.
 8         97.    Without the MTK USA agreement and no communication from Mr.
 9   Diaz, Mr. Heredia sought to confirm his rights under the 2017 Contract. The terms
10   of the 2017 Contract required that any dispute be submitted for arbitration within
11   two weeks after the origin of the dispute.
12         98.    In accordance with this provision, on August 20, 2020, Mr. Heredia
13   filed an arbitration request with the Commission with respect to Mr. Diaz’s breach
14   of contract pursuant to the terms of the 2017 Contract and relevant statutory and
15   regulatory provisions.
16         99.    The 2017 Contract states, in relevant part: “Boxer [Mr. Diaz] Agrees
17   … that Boxer will not, during the term of this agreement, take or engage in any
18   boxing contests, exhibitions or training exercises without first having obtained the
19   written permission of Manager [Mr. Heredia] to do so.”
20         100. The Commission accepted the arbitration request, however, due to
21   delays perpetuated by Diaz, the arbitration did not take place until June 10, 2021.
22         101. The arbitrator found the 2017 Contract between Mr. Heredia and Mr.
23   Diaz to be valid, and Mr. Diaz was ordered to pay Mr. Heredia his full
24   management fees for the two aforementioned bouts that were negotiated without
25   his assistance.
26         102. One of those payments was made, albeit late and in the face of
27   significant scrutiny by the California commission, and the second has not yet been
28                                     SECOND AMENDED
                                             -38-
     THIRD AMENDED COMPLAINT 38
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 1   made. Mr. Greely informed the California State Commission they were without
 2   authority to compel payment order pursuant to the Arbitration decision (not
 3   appealed by Diaz), which the California Commission rejects and Mr. Heredia was
 4   left with no other options to collect these sums, and recently had to file a California
 5   state enforcement action to attempt to collect that second payment owed to him by
 6   Mr. Diaz.
 7         103. During the arbitration on June 10, 2021, the Executive Director of the
 8   Commission found that Mr. Diaz and Mr. Heredia’s relationship was irreparably
 9   harmed.
10         104. On July 10, 2021, the Executive Director, through his decision,
11   canceled the remainder of the 2017 Contract due to the irreparable nature of the
12   relationship. Mr. Heredia has been harmed by the early termination of this contract.
13         105. The early termination would not have occurred if MTK and MTK
14   USA did not induce the breach of the Boxer-Manager Contract and GBP did not
15   facilitate or allow MTK, MTK USA, and Mr. Gibson to substitute as Mr. Diaz’s
16   managers.
17         106. (1) a “person”VGC, as MTK or MTK USA’s proxy, negotiated bouts
18   for Mr. Diaz while the 2017 Contract was in full legal force and effect, usurping
19   Mr. Heredia’s role as Mr. Diaz’ lawful and exclusive manager at the time.
20         107. For example, in a November 11, 2020 email from VGC to GBP, VGC
21   states: “We received your letter. We will, of course, present any legitimate offer to
22   Mr. Diaz. A legitimate offer contains at least the following elements: (1) an
23   opponent; (2) who sustains injurya purse; (3) a date; (4) and a location. Your note
24   is missing half of those, and instead gives an undefined two month timeframe for a
25   bout with no location set. This overture is pretext meant to create the illusion of
26   contractual compliance where it does not exist.”
27         108. No individual in VGC or MTK, nor Mr. Kinahan, is licensed to
28                                     SECOND AMENDED
                                             -39-
     THIRD AMENDED COMPLAINT 39
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 1   perform boxing management functions in the State of California. See Cal. Bus. &
 2   Prof. Code § 18628; see generally 15 U.S.C. §§ 6301-6313.
 3         109. These actions, by Mr. Kinahan’s MTK and MTK USA, through VGC,
 4   are definitional management services as defined by Cal. Bus. & Prof. to his or her
 5   “business or property” (4) “by reason of” defendant’sCode §18628 and were taken
 6   with respect to Mr. Diaz in violation of the 2017 Contract.
 7         110. VGC and MTK did this despite knowing that Mr. Diaz had a valid
 8   Boxer-Manager Contract with Mr. Heredia. More information concerning the
 9   nature of the interactions between VGC, MTK, and GBP will be known after a
10   reasonable opportunity for further investigation or discovery.
11                F. Mr. Diaz instructed Golden Boy to withhold funds lawfully
12                   earned by, and owed to, Mr. Heredia.
13         111. GBP and Mr. Heredia have a long history. 18 U.S.C. § 1962. Standing
14   depends on injury from the “conduct constituting the They have worked together
15   for several years. Notwithstanding their long business relationship and GBP’s
16   knowledge of MTK’s violations of the law, GBP has negotiated for its own
17   financial gain with MTK as if MTK was the manager of Mr. Diaz in violation of
18   the Muhammad Ali Boxing Reform Act.
19         112. Mr. Diaz and GBP advertised bouts for Mr. Diaz on February 13,
20   2021 and on July 9, 2021. ,” and each section of RICO has a different injury
21   requirement. Injury under § 1962(a) must stem from the investment of racketeering
22   income; injuryThese bouts were premised on the 2017 promotional agreement with
23   GBP that Mr. Heredia had previously negotiated for Mr. Diaz. This is yet another
24   time MTK and GBP have worked together and intentionally frozen out Mr.
25   Heredia from the process, despite him being Mr. Diaz’s lawful and exclusive
26   boxing manager.
27         113. Payment in connection with boxing bouts is a bifurcated process.
28                                    SECOND AMENDED
                                            -40-
     THIRD AMENDED COMPLAINT 40
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 1   Prior to the bout itself, the promoter and boxer meet, without the boxer’s manager,
 2   and the boxer directs the promoter to cut checks to members of his team, including
 3   his manager. The checks are held by the promoter until after the bout, at which
 4   time the promoter delivers the checks to the appropriate payees.
 5         114. Per the 2017 Contract, Mr. Heredia should have received 18%
 6   ($72,000) of Mr. Diaz’ reduced purse from the February 13, 2021 bout. MTK,
 7   MTK USA, and Mr. Diaz’ counsel advised Mr. Diaz to instruct GBP not to release
 8   those funds that Mr. Diaz lawfully owed Mr. Heredia under the 2017 Contract and
 9   in accord with the Promotion Term Sheet between GBP, Diaz and Heredia. Mr.
10   Diaz still has not paid Mr. Heredia that required sum, and Mr. Heredia has had to
11   file a California state court action to enforce this portion of the arbitration award.
12         115. While the 2017 Contract was still valid and in full force and effect
13   between Mr. Heredia and Mr. Diaz, GBP negotiated another bout for Mr. Diaz, this
14   one on July 9, 2021. With GBP freezing out Mr. Heredia from communicating
15   with his fighter, Mr. Diaz, Heredia was also not involved in scheduling this fight
16   and did not provide his required written permission for the bout. Mr. Diaz’ purse
17   for the July 9, 2021 fight was $500,000. Per the 2017 Contract, Mr. Heredia was
18   entitled to 18% ($90,000) of Mr. Diaz’ purse from the fight. As a result of the
19   Defendants’ interference Mr. Diaz instructed GBP not to pay Mr. Heredia his
20   lawfully-owed management fees under the 2017 Contract. Mr. Diaz did not pay
21   Mr. Diaz that sum until 10 days after ordered to in the arbitration award. Mr.
22   Heredia was left with no choice but to file a California state court enforcement
23   action against Mr. Diaz to collect this sum, which is lawfully Mr. Heredia’s under
24   the 2017 Contract and the Arbitration award.
25         116. The Defendants have engaged in a years-long campaign to ruin Mr.
26   Heredia’s reputation in the community through lies, surrogates, and blatantly false
27   allegations, and frivolous/ legally unsupportable complaints.
28                                      SECOND AMENDED
                                              -41-
     THIRD AMENDED COMPLAINT 41
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 1         117. The damages have been significant. Mr. Heredia was in negotiations
 2   with at least ten potential international Olympians, world champions, and amateur
 3   boxers that were free agents with no contract with any manager in an attempt to
 4   build on their unprecedented success of having two world champions, including
 5   one homegrown over several years – something that is considered a unicorn in the
 6   world of boxing.
 7         118. These actions were strategically undertaken to have a devasting
 8   impact upon Mr. Heredia particularly in light of the Summer Olympics of 2021,
 9   which is prime recruitment period for boxing managers to attract new talent to their
10   stables. The defamatory nature and aggressive strategy funded by defendants to
11   preserve their position and take out the one manager whose success was a threat to
12   them has cost Mr. Heredia millions in fighter recruitment.
13         119. GBP has disregarded its contractual obligations with respect to the
14   2017 promotional agreement with respect to Plaintiff.§ 1962(b) must stem from the
15   acquisition of an
16         120. MTK, MTK USA, their agents, and GBP openly and notoriously
17   interfered with the boxing management contract between Mr. Diaz and Mr.
18   Heredia. Further, MTK, MTK USA, and GBP caused Mr. Diaz to breach the 2017
19   Contract with Mr. Heredia on at least two separate occasions.
20         96.    MTK personnel signed the MTK USA “business advisory
21   agreement.” This suggests that it is a legal fiction that MTK and MTK USA had a
22   distinct corporate existence. That there is such a unity of interest on or control
23   over an enterprise; injury under § 1962(c) must stem from the predicateand
24   ownership between MTK and MTK USA further suggests that the separate
25   personalities of the corporations no longer exist and that, if the acts; and injury
26   under § 1962(d) generally stems from the overt acts committed in furtherance of
27   the conspiracy. Plaintiff has standing under all four sections of RICO as they are
28                                      SECOND AMENDED
                                              -42-
     THIRD AMENDED COMPLAINT 42
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 1   considered a “person” who has sustained an injury to his business by reason of the
 2   injuries described below.
 3    of MTK USA are treated as those of it alone, an inequitable result would follow in
 4    that MTK would be able to unfairly shield itself from liability for its misdeeds in
 5                           this case. CAUSES OF ACTION
 6                               FIRST CAUSE OF ACTION
 7     RICO § 1962(a) – Acquiring an Interest in an Enterprise by Use of Income
 8               (Against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson)
 9         97.121.      Plaintiff incorporates by reference and realleges each and every
10   allegation contained in the paragraphs above as though fully set forth herein.
11         98.0. MTK is an enterprise engaged in and whose activities affect interstate
12   commerce. MTK is an international boxing management and promotion company
13   and engages in marketing boxing and other fighting sport events through television
14   and the internet. MTK is operating in several markets to include this judicial
15   district. MTK is associated with Mr. Kinahan and Mr. Gibson is MTK’s chief
16   strategy officer. More information concerning the nature of Mr. Kinahan’s
17   involvement in MTK will be known after a reasonable opportunity for further
18   investigation or discovery.
19         99.0. MTK derived income, directly or indirectly, from a pattern of
20   racketeering activity. Namely, through MTK’s association with Mr. Kinahan and
21   the KOCG, MTK has accepted income from drug traffickingcriminal activity and
22   money laundering. Any investment by or through Mr. Kinahan necessarily is
23   income derived, directly or indirectly, from drug traffickingcriminal activity and
24   money laundering. More information concerning the nature of Mr. Kinahan’s
25   involvement in MTK and money laundering will be known after a reasonable
26   opportunity for further investigation or discovery. Upon information and belief,
27   these acts have occurred more than once, are related to one another, and are
28                                     SECOND AMENDED
                                             -43-
     THIRD AMENDED COMPLAINT 43
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 1   continuous under both the closed-end continuity theory and the open-ended
 2   continuity theory as the relationship between MTK and the KOCG has been
 3   established over time and is likely to be repeated into the future.
 4         100.0. MTK used and invested income that was derived from a pattern of
 5   racketeering activity in an interstate enterprise. Specifically, MTK was co-founded
 6   my Mr. Daniel Kinahan who is the reported leader of the KOCG in Ireland. The
 7   KOCG is known by several governments, including the United States Government
 8   of engaging in narco-terrorism, drug traffickingcriminal activity , and money
 9   laundering. MTK states that it has severed ties with Mr. Kinahan. However, while
10   official ties on paper may have been severed, Mr. Kinahan is still influencing and
11   controlling MTK. As recently as November 16, 2020 it is reported that MTK is
12   still associated with Mr. Daniel Kinahan. MTK received income from Mr. Daniel
13   Kinahan and the KOCG that was derived from a pattern of racketeering activity in
14   an interstate enterprise. More information concerning the nature of Mr. Kinahan’s
15   involvement in MTK and money laundering will be known after a reasonable
16   opportunity for further investigation or discovery. MTK then used this income
17   derived from a pattern of racketeering activity to acquire an interest in Mr. Joseph
18   “JoJo” Diaz, Jr, an individual. Enterprises may consist of individuals.
19         101.0. The racketeering activity listed above constitutes a pattern of
20   racketeering activity pursuant to 18 U.S.C. § 1961(5).
21         102.0. MTK participated as a principle in the pattern of racketeering activity.
22   With knowledge of the KOCG and Mr. Kinahan’s drug traffickingcriminal activity
23   and money laundering, MTK conspired with or aided and abetted the KOCG and
24   Mr. Kinahan to allow MTK to be used a front for money laundering. More
25   information concerning the nature of Mr. Kinahan’s involvement in MTK and
26   money laundering will be known after a reasonable opportunity for further
27   investigation or discovery. MTK received income from the predicate acts, directly
28                                     SECOND AMENDED
                                             -44-
     THIRD AMENDED COMPLAINT 44
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 1   or indirectly, and then invested that income in the acquisition of an interest in Mr.
 2   Joseph Diaz, Jr, an enterprise, which is engaged in interstate and international
 3   commerce.
 4           103.0. As direct and proximate result of the MTK’s racketeering activities
 5   and violations of 18 U.S.C. § 1962(a), Plaintiff has been injured in their business
 6   and property in that: Plaintiff has an exclusive management boxer-manager
 7   contract with Mr. Diaz. The income MTK is investing into Mr. Diaz is directly
 8   causing harm to the business relationship between Plaintiff and Mr. Diaz and has
 9   caused Mr. Diaz to stop communicating with Plaintiff resulting in several
10   previously contracted for services in the management of Mr. Diaz to spoil. Further,
11   the interference has caused harm to Plaintiff’s business reputation and goodwill
12   and interference with prospective commercial relations. Mexican American boxers
13   also have the highest draw in the boxing sport. Loss of world champion affects
14   their standing in the boxing management community and amongst boxing
15   promoters.
16           104.0. WHEREFORE, Plaintiff requests that this Court enter judgment
17   against the MTK, MTK USA, Mr. Kinahan, and Mr. Gibson as follows: actual
18   damages, treble damages, reasonable attorney’s fees, and the costs of bringing the
19   suit.
20                             SECOND CAUSE OF ACTION
21     RICO § 1962(b) – Acquiring or Maintaining an Interest in or Control of an
22                                         Enterprise
23                (Against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson)
24           105.0. Plaintiff incorporates by reference and realleges each and every
25   allegation contained in the paragraphs above as though fully set forth herein.
26           106.0. MTK is an enterprise engaged in and whose activities affect interstate
27   commerce.
28                                      SECOND AMENDED
                                              -45-
     THIRD AMENDED COMPLAINT 45
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 1         0.     MTK acquired and maintained interests in and control of the
 2   enterprise through a pattern of racketeering activity. Specifically, on or about,
 3   August 12, 2020, MTK provided Mr. Joseph Diaz, Jr. with an advance of $100,000
 4   in exchange signing for a purported business advisory agreement in violation of the
 5   current boxer-manager contract signed between Mr. Diaz and Plaintiff.
 6         1.     Mr. Diaz is an individual and individuals are considered “enterprises.”
 7         107.2. The advance MTK provided Mr. Diaz was derived, directly or
 8   indirectly from the predicate acts of drug traffickingcriminal activity and money
 9   laundering as described above. MTK is associated with and conspires with Mr.
10   Kinahan and the KOCG which is one of Europe’s largest drug trafficking criminal
11   cartels. More information concerning the nature of Mr. Kinahan’s involvement in
12   MTK and money laundering will be known after a reasonable opportunity for
13   further investigation or discovery. MTK continues to maintain this interest in Mr.
14   Diaz and recently tweeted about a February 13, 2021 mandatory title bout between
15   Mr. Diaz and Mr. Shavkatdzhon Rakhimov. This bout was scheduled without input
16   from or communication with Plaintiff. Further, MTK holds out on its website that
17   Mr. Diaz is one of “their” boxers.
18         108.0. The racketeering activity listed above constitutes a pattern of
19   racketeering activity pursuant to 18 U.S.C. § 1961(5).
20         109.0. MTK has directly and indirectly acquired and maintained interests in
21   and control of the enterprise through the pattern of racketeering activity described
22   above, in violation of 18 U.S.C. § 1962(b).
23         110.0. As direct and proximate result of the MTK’s racketeering activities
24   and violations of 18 U.S.C. § 1962(b), Plaintiff has been injured in their business
25   and property in that: Plaintiff has an exclusive management boxer-manager
26   contract with Mr. Diaz. The income MTK is investing into Mr. Diaz is directly
27   causing harm to the business relationship between Plaintiff and Mr. Diaz and has
28                                     SECOND AMENDED
                                             -46-
     THIRD AMENDED COMPLAINT 46
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 1   caused Mr. Diaz to stop communicating with Plaintiff resulting in several
 2   previously contracted for services in the management of Mr. Diaz to spoil. Further,
 3   the interference has caused harm to Plaintiff’s business reputation and goodwill
 4   and interference with prospective commercial relations. Mexican American boxers
 5   also have the highest draw in the boxing sport. Loss of world champion affects
 6   their standing in the boxing management community and amongst boxing
 7   promoters.
 8           111.0. WHEREFORE, Plaintiff requests that this Court enter judgment
 9   against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson as follows: actual
10   damages, treble damages, reasonable attorney’s fees, and the costs of bringing the
11   suit.
12                              THIRD CAUSE OF ACTION
13                RICO § 1962(c) – Conduct the Affairs of the Enterprise
14                (Against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson)
15           112.0. Plaintiff incorporates by reference and realleges each and every
16   allegation contained in the paragraphs above as though fully set forth herein.
17           113.0. MTK is an enterprise engaged in and whose activities affect interstate
18   commerce.
19           114.0. The Kinahan Organized Crime Group (KOCG) is an association-in-
20   fact. See Boyle v. United States, 556 U.S. 938, 945-46 (2009) (quoting United
21   States v. Turkette, 452 U.S. 576, 580 (1981)). The KOCG is an enterprise engaged
22   in and whose activities affect interstate commerce.
23           115.0. The purported leader of the KOCG, Mr. Daniel Kinahan, co-founded
24   MTK as a front business to launder illicit proceeds from drug trafficking.criminal
25   activity . MTK and the KOCG have also formed an association-in-fact to further
26   this scheme. The more boxers under MTK allows the KOCG to launder more
27   money from drug trafficking.criminal activity . More information concerning the
28                                      SECOND AMENDED
                                              -47-
     THIRD AMENDED COMPLAINT 47
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 1   nature of Mr. Kinahan’s involvement in MTK and money laundering will be
 2   known after a reasonable opportunity for further investigation or discovery.
 3         116.0. MTK is associated with or employed by the MTK/KOCG association-
 4   in-fact enterprise. MTK is associated with the KOCG as described above due to its
 5   relationship with Mr. Daniel Kinahan. More information concerning the nature of
 6   Mr. Kinahan’s involvement in MTK and money laundering will be known after a
 7   reasonable opportunity for further investigation or discovery.
 8         117.0. MTK agreed to and did conduct and participate in the conduct of the
 9   MTK/KOCG association-in-fact enterprise’s affairs through a pattern of
10   racketeering activity and for the unlawful purpose of intentionally and tortuously
11   interfering with Plaintiff’s boxer-manager contract. Specifically, MTK through its
12   association with the KOCG has been using income derived, directly or indirectly,
13   from KOCGs racketeering activities which include drug traffickingcriminal
14   activity and money laundering. MTK used this income derived from the KOCG to
15   provide Mr. Diaz an advance of $100,000 on his next bout. MTK did so to invest
16   in or acquire an interest in Mr. Diaz as a professional boxer as described above.
17   MTK also benefits from these transactions as MTK receives additional money.
18   Stated another way, MTK is allowed to re-invest the profits of the MTK/KOCG
19   association-in-fact enterprise to continue to grow and expand. In doing so, MTK is
20   becoming a large player in the boxing industry and destroying smaller family run
21   operations like Plaintiff’s.
22         118.0. MTK knows that the KOCG is involved in drug traffickingcriminal
23   activity and money laundering.
24         119.0. Pursuant to and in furtherance of their scheme, the MTK/KOCG
25   association-in-fact committed multiple related acts of drug traffickingcriminal
26   activity and money laundering. More information concerning the nature of Mr.
27   Kinahan’s involvement in MTK and money laundering will be known after a
28                                     SECOND AMENDED
                                             -48-
     THIRD AMENDED COMPLAINT 48
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 1   reasonable opportunity for further investigation or discovery.
 2         120.0. The acts of drug traffickingcriminal activity and money laundering
 3   set forth above constitute a pattern of racketeering activity pursuant to 18 U.S.C. §
 4   1961(5).
 5         121.0. MTK has directly and indirectly conducted and participated in the
 6   conduct of the MTK/KOCG association-in-fact enterprise’s affairs through the
 7   pattern of racketeering and activity described above, in violation of 18 U.S.C. §
 8   1962(c).
 9         “In order to ‘participate, directly or indirectly, in the conduct of such
10         enterprise's affairs,’ one must have some part in directing those
11         affairs. Of course, the word ‘participate’ makes clear that RICO
12         liability is not limited to those with primary responsibility for the
13         enterprise's affairs, just as the phrase ‘directly or indirectly’ makes
14         clear that RICO liability is not limited to those with a formal position
15         in the enterprise, but some part in directing the enterprise's affairs is
16         required.”
17   Reves v. Ernst & Young, 507 U.S. 170, 179 (1993); See also Williams v. Mohawk
18   Indus., Inc., 465 F.3d 1277, 1281 (11th Cir. 2006) (“… a RICO defendant must
19   ‘conduct’ or ‘participate in’ the affairs of some larger enterprise and not just its
20   own affairs.”). More information concerning the nature of Mr. Kinahan’s
21   involvement in MTK and money laundering will be known after a reasonable
22   opportunity for further investigation or discovery.
23         122.0. As a direct and proximate result of the MTK, Mr. Kinahan, and Mr.
24   Gibson’s racketeering activities and violations of 18 U.S.C. § 1962(c), Plaintiff has
25   been injured in their business and property in that: Plaintiff has an exclusive
26   management boxer-manager contract with Mr. Diaz. The conduct of the
27   MTK/KOCG association-in-fact enterprise directly interferes with this contractual
28                                      SECOND AMENDED
                                              -49-
     THIRD AMENDED COMPLAINT 49
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 1   relationship. This interference has caused harm to the business relationship
 2   between Plaintiff and Mr. Diaz, interfered with other boxing contracts, and has
 3   caused Mr. Diaz to stop communicating with Plaintiff resulting in several
 4   previously contracted for services in the management of Mr. Diaz to spoil. Further,
 5   the interference has caused harm to Plaintiff’s business reputation and goodwill
 6   and interference with prospective commercial relations. Boxers of Mexican
 7   ethnicity are currently the highest draw in the profession of boxing and a loss of a
 8   world champion Mexican boxer has wide ranging adverse impacts on the recruiting
 9   and retention efforts of Mr. Heredia and his ability to negotiate with promotional
10   companies which is further demonstrated by GBP’s willingness to ignore its
11   contractual standing despite several years of a professional relationship.
12           123.0. WHEREFORE, Plaintiff requests that this Court enter judgment
13   against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson as follows: actual
14   damages, treble damages, reasonable attorney’s fees, and the costs of bringing the
15   suit.
16                             FOURTH CAUSE OF ACTION
17       RICO § 1962(d) – Conspiracy to Conduct the Affairs of the Enterprise
18                (Against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson)
19           124.0. Plaintiff incorporates by reference and realleges each and every
20   allegation contained in the paragraphs above as though fully set forth herein.
21           125.0. As set forth above, the MTK agreed and conspired to violate 18
22   U.S.C. § 1962(a) (b) and (c). Specifically MTK conspired with the KOCG
23   association-in-fact enterprise to: (1) use or invest income that is derived from a
24   pattern of racketeering activity in an interstate enterprise (§ 1962(a)); (2) acquire or
25   maintain interests in the Mr. Diaz as a professional boxer through a pattern of
26   racketeering activity (§ 1962(b)); and (3) conduct and participate in the conduct of
27   the affairs of the MTK/KOCG association-in-fact enterprise through a pattern of
28                                      SECOND AMENDED
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     THIRD AMENDED COMPLAINT 50
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 1   racketeering activity (§ 1962(c)). More information concerning the nature of Mr.
 2   Kinahan’s involvement in MTK and money laundering will be known after a
 3   reasonable opportunity for further investigation or discovery.
 4         0.     MTK has intentionally conspired and agreed to directly and indirectly
 5   use or invest income that is derived from a pattern of racketeering activity in an
 6   interstate enterprise, acquire or maintain interests in the enterprise through a
 7   pattern of racketeering activity, and conduct and participate in the conduct of the
 8   affairs of the MTK/KOCG association-in-fact enterprise through a pattern of
 9   racketeering activity.
10         126.1. MTK knew that theirits predicate acts were part of a pattern of
11   racketeering activity and agreed to the commission of those acts to further the
12   schemes described above. That conduct constitutes a conspiracy to violate 18
13   U.S.C. § 1962(a), (b) and (c), in violation of 18 U.S.C. § 1962(d). More
14   information concerning the nature of Mr. Kinahan’s involvement in MTK and
15   money laundering will be known after a reasonable opportunity for further
16   investigation or discovery.
17         127.0. As direct and proximate result of the MTK’s conspiracy, the overt acts
18   taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d),
19   Plaintiff has been injured in their business and property in that: Plaintiff has an
20   exclusive management boxer-manager contract with Mr. Diaz. The conduct of the
21   MTK/KOCG association-in-fact enterprise directly interferes with this contractual
22   relationship. The income MTK is investing into Mr. Diaz is directly causing harm
23   to the business relationship between Plaintiff and Mr. Diaz and has caused Mr.
24   Diaz to stop communicating with Plaintiff resulting in several previously
25   contracted for services in the management of Mr. Diaz to spoil. Further, the
26   interference has caused harm to Plaintiff’s business reputation and goodwill and
27   interference with prospective commercial relations. Mexican American boxers also
28                                      SECOND AMENDED
                                              -51-
     THIRD AMENDED COMPLAINT 51
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 1   have the highest draw in the boxing sport. Loss of world champion affects their
 2   standing in the boxing management community and amongst boxing promoters.
 3           0.    The income MTK is investing into Mr. Diaz is directly causing harm
 4   to the business relationship between Plaintiff and Mr. Diaz and has caused Mr.
 5   Diaz to stop communicating with Plaintiff resulting in several previously
 6   contracted for services in the management of Mr. Diaz to spoil. Further, the
 7   interference has caused harm to Plaintiff’s business reputation and goodwill and
 8   interference with prospective commercial relations. Mexican American boxers also
 9   have the highest draw in the boxing sport. Loss of world champion affects their
10   standing in the boxing management community and amongst boxing promoters.
11           128.1. WHEREFORE, Plaintiff requests that this Court enter judgment
12   against MTK, MTK USA, Mr. Kinahan, and Mr. Gibson as follows: actual
13   damages, treble damages, reasonable attorney’s fees, and the costs of bringing the
14   suit.
15                              FIFTH CAUSE OF ACTION
16            Tortious Interference with Contract – Boxer Manager Contract
17                      (Against MTK, MTK USA, Mr. Gibson, and GBP)
18           129.157.     Plaintiff incorporates by reference and realleges each and every
19   allegation contained in the paragraphs above as though fully set forth herein.
20           130.158.     At all relevant times, an exclusive boxer managerthere was a
21   Boxer-Manager contract existed(2017 Contract) between Mr. Heredia and a third
22   party, Mr. Joseph Diaz, Jr. This contract was signed on February 23, 2017 before
23   the California State Athletic Commission and would have lasted five years, but on
24   July 10, 2021 was canceled by the Executive Director of the Commission. During
25   all relevant times this contract was valid and enforceable.
26           159. Each defendant knew of the 2017 Contract between Mr. Heredia and
27   Mr. Diaz and that it required Mr. Heredia to be paid 18% of Mr. Diaz’ bout income
28                                      SECOND AMENDED
                                              -52-
     THIRD AMENDED COMPLAINT 52
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 1   as a management fee.
 2         160. As a result of the Defendants’ interference Mr. Diaz instructed GBP
 3   not to pay Mr. Heredia his lawfully-owed management fees on two separate
 4   occasions: once in connection with a February 13, 2021 bout, and once in
 5   connection with a July 9, 2021 bout.
 6         161. MTK, MTK USA, Mr. Gibson, and GBP performed intentional acts
 7   designed to induce a breach or disruption of the contractual relationship between
 8   Mr. Heredia and Mr. Diaz by instructing Mr. Diaz to order GBP to withhold from
 9   Mr. Heredia his contractually-required 18% management fee from the February 13,
10   2021 bout – which Mr. Diaz still has not paid – and from the July 9, 2021 bout,
11   which Mr. Heredia was not paid until 10 days after the arbitration award ordered it.
12         162. MTK, MTK USA, Mr. Gibson, and GBP did, in fact, breach or disrupt
13   the contractual relationship between Mr. Heredia and Mr. Diaz by withholding
14   from Mr. Heredia his contractually-required 18% management fee from the
15   February 13, 2021 bout – which Mr. Diaz still has not paid – and from the July 9,
16   2021 bout, which Mr. Heredia was not paid until 10 days after the arbitration
17   award ordered it.
18         163. But for MTK, MTK USA, Mr. Gibson, and GBP’s actions in
19   interfering, the payment of Mr. Heredia’s bout fees, owed to him under the 2017
20   Contract, would have been timely performed.
21         164. MTK, MTK USA, Mr. Gibson, and GBP’s actions caused Mr.
22   Heredia damages, by their instructing Mr. Diaz to order GBP to withhold from Mr.
23   Heredia monies contractually-owed to him by Mr. Diaz, thus causing Mr. Heredia
24   to lose the use of the funds that he was lawfully owed during the time that they
25   were unlawfully withheld from him, for the July 9, 2021 bout, and to this day, for
26   the February 13, 2021 bout.
27         131. Further, MTK, MTK USA, Mr. Gibson, and GBP’s actions have
28                                    SECOND AMENDED
                                            -53-
     THIRD AMENDED COMPLAINT 53
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 1   harmed Mr. Heredia in other ways. MTK, MTK USA, and Mr. Gibson’s conduct
 2   prevented performance or made the performance of this contract more expensive or
 3   difficult. Mr. Diaz did not to communicate with Mr. Heredia but instead enlisted
 4   MTK, MTK USA, and Mr. Gibson to arrange a mandatory title bout with GBP.
 5   This bout occurred on February 13, 2021. MTK, MTK USA, and Mr. Gibson are
 6   “strangers” to this contract and are liable in tort for their intentional interference.
 7   MTK, MTK USA, and Mr. Gibson’s conduct includes directing a social media
 8   campaign where Mr. Diaz proclaims he is no longer with Mr. Heredia due to him
 9   being “toxic” and that he was “f***ing with” his money, arranging a title bout on
10   February 13, 2021 intentionally excluding Mr. Heredia, and arranging another bout
11   on July 9, 2021 intentionally excluding Mr. Heredia. Through this interference,
12   Mr. Diaz did not make weight for the February 13, 2021 bout causing the purse of
13   the bout to be fined by the Commission. This cost Mr. Diaz $100,000 and thereby
14   reduced Plaintiff’s management fee from $90,000 to $72,000. Further, because of
15   this interference, Mr. Diaz was advised not to pay Mr. Heredia any of the 18%
16   management fee. Mr. Diaz then lost his World Champion status that has the effect
17   of reducing his prospects for future bouts. MTK, MTK USA, and Mr. Gibson also
18   did not argue for the 70% net proceeds clause for PPV rights as listed in the
19   promotion agreement with Golden Boy if Diaz is the “A” side of a main event bout
20   on PPV. DAZN is a network and is a PPV venue. This could have resulted in a
21   higher purse for Mr. Diaz and additional management fees for Plaintiff.
22         132. As this interference is continuing, MTK, MTK USA, and Mr. Gibson
23   have intentionally excluded Plaintiff from the negotiations concerning the July 9,
24   2021 bout against Mr. Javier Fortuna.
25         133. Additionally, these actions have caused Mr. Heredia to incur
26   additional time and expenses to include hiring counsel to assert his rights. Due to
27   the interference, Mr. Heredia cannot simply contact Mr. Diaz to arrange the next
28                                       SECOND AMENDED
                                               -54-
     THIRD AMENDED COMPLAINT 54
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 1   bout under the terms of the agreement as he did before the interference. Mr.
 2   Heredia cannot negotiate bouts or purse amounts for Mr. Diaz. These actions have
 3   made it nearly impossible for Mr. Heredia to fulfill their obligations under the
 4   contract between Mr. Diaz and Plaintiff.
 5         134. GBP’s conduct prevented performance or made the performance of
 6   this contract more expensive or difficult. GBP negotiated directly with MTK, MTK
 7   USA, and Mr. Gibson instead of discussing this bout with Plaintiff. Prior to the
 8   bout on February 12, 2021, Mr. Diaz failed to make weight. This required
 9   communications between the Commission, Mr. Rakhimov’s management team and
10   promotion companies. GBP allowed MTK, MTK USA, and Mr. Gibson to handle
11   these discussions and intentionally excluded Mr. Heredia, the exclusive manager
12   for Mr. Diaz.
13         135. MTK, MTK USA, and Mr. Gibson intended to disrupt the
14   performance of this contract and/or knew that disruption of performance as certain
15   or substantially certain to occur. Mr. Diaz no longer communicates with Mr.
16   Heredia concerning his boxing career. MTK and MTK USA claim to be a
17   “business” or “marketing advisor” for Mr. Diaz, however, MTK and MTK USA do
18   not communicate with Mr. Heredia in anyway. MTK, MTK USA, and Mr. Gibson
19   additionally are performing management roles under California and Federal law.
20   MTK and MTK USA’s involvement lead Mr. Diaz to direct GBP not to pay Mr.
21   Heredia the contractual amount owed under the Boxer Manager Contract for the
22   February 13, 2021 bout. MTK and MTK USA want this disruption to occur as their
23   goal is to have Mr. Diaz become one of their boxers. In order to do so, they must
24   destroy, through whatever means they have available, the valid and existing
25   contract between Mr. Heredia and Mr. Diaz.
26         136.165.     The Plaintiff has been harmed by the actions of MTK, MTK
27   USA, Mr. For example, Mr. Heredia lost oversight of Mr. Diaz, the boxer he
28                                     SECOND AMENDED
                                             -55-
     THIRD AMENDED COMPLAINT 55
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 1   managed. Mr. Heredia Gibson, and GBP. Plaintiff does not have oversight of the
 2   boxer he manages. Plaintiff is being smeared on social media and have lost business
 3   goodwill as others see their rights and contracts being trampled upon by MTK, MTK
 4   USA, Mr. Gibson, and GBP. Further, Plaintiff’sMr. Heredia’s relationship with
 5   other currently signed boxers has been hampered. Plaintiff’sMr. Heredia’s business
 6   relationship with GBP has also been negatively affected.
 7         166. Moreover, MTK, MTK USA, Mr. Gibson, and GBP’s actions ensured
 8   the deterioration of this longstanding remarkably successful personal and
 9   professional relationship between Mr. Heredia and Mr. Diaz, which triggered the
10   need for arbitration, which then resulted in a reduced fight percentage allocation by
11   the California Commission, who had to balance the fighter’s future income against
12   the enforceable contractual rights that existed as reflected in the arbitration award.
13   These additional damages are directly tied to the irreparable harm to this
14   relationship, as confirmed by the Arbitration, that was committed by this group of
15   corporate raiders who were acting without any contractual or lawful authority to
16   conduct business within any jurisdiction and in particular the State of California.
17         137.167.      MTK, MTK USA, and their agents to include Mr. Gibson and
18   VGC, and GBP’s conduct were the substantial factors in causing Plaintiff’s harm.
19   But for the interference of MTK, MTK USA, Mr. Gibson and GBP, Plaintiff’s
20   contract with Mr. Diaz would not have been interfered with and harm would not
21   have been caused. The conduct of MTK, MTK USA, Mr. Gibson, and GBP is the
22   substantial factor in causing Plaintiff’s harm.
23         168. WHEREFORE, Plaintiff requests that this Court enter judgment
24   against these defendants as follows: actual damages, reasonable attorney’s fees,
25   and the costs of bringing the suit, all in an amount to be determined at trial.
26                              SIXTH CAUSE OF ACTION
27         Tortious Interference with Contract – Promoter-Manager Contract
28                                      SECOND AMENDED
                                              -56-
     THIRD AMENDED COMPLAINT 56
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 1                             (Against MTK and MTK USA)
 2         138.169.      Plaintiff incorporates by reference and realleges each and every
 3   allegation contained in the paragraphs above as though fully set forth herein.
 4         170. At all relevant times, there was a boxing promotion contract between
 5   Defendant GBP, and Mr. Joseph Diaz, Jr. Plaintiff also signed this agreement as a
 6   representative of Mr. Diaz and is a third-party beneficiary. This contract was
 7   signed on March 22, 2017 and lasts for five years.
 8         171. This contract is valid and enforceable.
 9         172. MTK and MTK USA’s conduct and GBP’s collusion prevented
10   performance or made the performance of this contract more expensive or difficult.
11   Mr. Diaz does not to communicate with Mr. Heredia as MTK and MTK USA
12   arranged a mandatory title bout with GBP on February 13, 2021 and another bout
13   on July 9, 2021. MTK and MTK USA are “strangers” to this contract and are liable
14   in tort for their intentional interference. MTK and MTK USA’s conduct includes
15   directing GBP not to communicate with Mr. Heredia, Mr. Diaz’s boxing manager.
16         139.173.      These actions have caused Mr. Heredia additional time and
17   expenses to include hiring counsel to assert theirhis rights. Mr. Heredia cannot
18   fulfill his role as Mr. Diaz’s boxing representative and negotiate bouts on Mr.
19   Diaz’s behalf.
20         174. MTK and MTK USA intended to disrupt the performance of this
21   contract and/or knew that disruption of performance as certain or substantially
22   certain to occur.
23         175. Mr. Joseph Diaz no longer communicates with Mr. Heredia
24   concerning his boxing career.
25         176. MTK claims to be a “business” or “marketing advisor” for Mr. Diaz,
26   however, MTK and MTK USA do not communicate with Mr. Heredia. Instead,
27   MTK and MTK USA are performing management roles for Mr. Diaz and
28                                     SECOND AMENDED
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     THIRD AMENDED COMPLAINT 57
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 1   attempting to step into the shoes of Mr. Heredia as the boxer’s representative under
 2   the promotion agreement. Plaintiff notes that
 3         177. MTK is not licensed or qualified as a boxing manager as required by
 4   California law. MTK and MTK USA’s coordinated efforts lead
 5         140.178.     As a result of the Defendants’ interference Mr. Diaz to
 6   directinstructed GBP not to pay Mr. Heredia the contractual amount his lawfully-
 7   owed management fees under the Boxer-Manager Contract for the February 13,
 8   2021 bout. MTK, MTK USA, and their agents want this disruption to occur as their
 9   goal is to have Mr. Diaz become one of their boxers. In order to do so, they must
10   destroy, through whatever means they have available, the valid and existing
11   contract between Mr. Diaz, GBP and Mr. Heredia.
12         141.179.     Mr. Heredia has been harmed by the actions of MTK and MTK
13   USA. Mr. Heredia does not have oversight of the boxer they arehe is managing.
14   MTK and MTK USA have inserted themselves as the boxer’s representative and
15   have displaced Mr. Heredia. Further, Mr. Heredia’s relationship with other
16   currently signed boxers has been hampered. Plaintiff’s business relationship with
17   GBP has also been negatively affected.
18         142.180.     MTK and MTK USA’s conduct are the substantial factors in
19   causing Plaintiff’s harm. But for the interference of MTK and MTK USA,
20   Plaintiff’s role as Mr. Diaz’s representative under the promotion contract would
21   not have been interfered with and harm would not have been caused.
22                           SEVENTH CAUSE OF ACTION
23              Inducing Breach of Contract – Boxer-Manager Contract
24                         (Against MTK, MTK USA, and GBP)
25         143.181.     Plaintiff incorporates by reference and realleges each and every
26   allegation contained in the paragraphs above as though fully set forth herein.
27         144.182.     Defendants MTK and MTK USA intentionally caused Mr.
28                                     SECOND AMENDED
                                             -58-
     THIRD AMENDED COMPLAINT 58
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 1   Joseph Diaz, Jr. to breach his Boxer-Manager Contract with Mr. Heredia.
 2         145.183.     At all relevant times, there was a Boxer-Manager Contract
 3   (2017 Contract) between Mr. Heredia and a third party, Mr. Joseph Diaz, Jr. This
 4   contract was signed on February 23, 2017 before the California State Athletic
 5   Commission and would have lasted five years, but on July 10, 2021 was canceled
 6   by the Executive Director of the Commission. During all relevant times this
 7   contract was valid and enforceable. and lasts for five years. This contract is valid
 8   and enforceable.
 9         146. MTK, MTK USA, and GBP knew that this contract existed.
10         147.184.     MTK, and MTK USA intended to cause Mr. Joseph Diaz, Jr. to
11   breach the Boxer Manager Contract by providing him a $100,000 advance and a
12   purported business advisory agreement, which is, in essence and in practice, a
13   management contract. Separately, GBP intended to cause Mr. Diaz to breach the
14   Boxer Manager Contract by negotiating with MTK and MTK USA instead of Mr.
15   Heredia for upcoming bouts. MTK and MTK USA’s actions are purposefully
16   designed to have Mr. Diaz break his contract with Mr. Heredia. The intent of MTK
17   and MTK USA is clear: they want to sign Mr. Diaz as a client and in order to do so
18   must get him out of his current enforceable contracts. MTK and MTK USA are
19   involved only to breach the contract between Mr. Heredia and Mr. Diaz. In any
20   case, MTK and MTK USA certainly knew that the interference and inducement of
21   Mr. Diaz would result in a breach of contract. Separately, GBP continues to work
22   with MTK and MTK USA and provides all the incentive to MTK, MTK USA, and
23   Mr. Diaz to continue to breach the Boxer Manager Contractthat it required Mr.
24   Heredia to be paid 18% of Mr. Diaz’ bout income as a management fee.
25         174. MTK, MTK USA, and GBP’s conduct caused Mr. Joseph Diaz, Jr. to
26   breach the Boxer Manager Contract. With MTK and MTK USA’s encouragement
27   Mr. Joseph Diaz no longer communicates with Mr. Heredia concerning his boxing
28                                     SECOND AMENDED
                                             -59-
     THIRD AMENDED COMPLAINT 59
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 1   career. MTK and MTK USA claim to be a “marketing advisor” for Mr. Diaz,
 2   however, MTK and MTK USA does not communicate with Mr. As a result of the
 3   Defendants’ interference Mr. Diaz instructed GBP not to pay Mr. Heredia his
 4   lawfully-owed management fees on two separate occasions: once in connection
 5   with a February 13, 2021 bout, and once in connection with a July 9, 2021 bout.
 6          186. MTK, MTK USA, Mr. Gibson, and GBP performed intentional acts
 7   designed to induce a breach or disruption of the contractual relationship between
 8   Mr. Heredia and Mr. Diaz by instructing Mr. Diaz to order GBP to withhold from
 9   Mr. Heredia his contractually-required 18% management fee from the February 13,
10   2021 bout – which Mr. Diaz still has not paid – and from the July 9, 2021 bout,
11   which Mr. Heredia was not paid until 10 days after the arbitration award ordered
12   it..
13          187. MTK, MTK USA, Mr. Gibson, and GBP did, in fact, breach or disrupt
14   the contractual relationship between Mr. Heredia and Mr. Diaz by withholding
15   from Mr. Heredia his contractually-required 18% management fee from the
16   February 13, 2021 bout – which Mr. Diaz still has not paid – and from the July 9,
17   2021 bout, which Mr. Heredia was not paid until 10 days after the arbitration
18   award ordered it.
19          188. But for MTK, MTK USA, Mr. Gibson, and GBP’s actions in
20   interfering, the payment of Mr. Heredia’s bout fees, owed to him under the 2017
21   Contract, would have been timely performed.
22          189. MTK, MTK USA, Mr. Gibson, and GBP’s actions caused Mr.
23   Heredia damages, by their instructing Mr. Diaz to order GBP to withhold from Mr.
24   Heredia monies contractually-owed to him by Mr. Diaz, thus causing Mr. Heredia
25   to lose the use of the funds that he was lawfully owed during the time that they
26   were unlawfully withheld from him, for the July 9, 2021 bout, and to this day, for
27   the February 13, 2021 bout.
28                                    SECOND AMENDED
                                            -60-
     THIRD AMENDED COMPLAINT 60
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 1         148. Further, MTK, MTK USA, Mr. Gibson, and GBP’s actions have
 2   harmed Mr. Heredia in anyway. MTK and MTK USA do communicate with other
 3   boxing managers in similar arrangements. MTK and MTK USA’s direction to Mr.
 4   Diaz has caused there to be no communication with Mr. Heredia to include
 5   communications concerning the bout that occurred on July 9, 2021.
 6         190. Mr. Heredia has been harmed by the actions of MTK, MTK USA, and
 7   GBP. Mr. Heredia does not have ways. For example, Mr. Heredia lost oversight of
 8   Mr. Diaz, the boxer he manages and has not been paid the management fees per the
 9   contract. Mr. managed. Mr. Heredia is being smeared on social media and hashave
10   lost business goodwill as others see their rights and contracts being trampled upon
11   by MTK and, MTK USA, Mr. Gibson, and GBP. .
12         149.191.     Further, Mr. Heredia’s relationship with other currently signed
13   boxers has been hampered. Mr. Heredia’s business relationship with GBP has also
14   been negatively affected by design. MTK, MTK USA, and their agents to include
15   Mr. Gibson and VGC, and GBP’s conduct were the substantial factors in causing
16   Plaintiff’s harm. But for the interference of MTK, MTK USA, Mr. Gibson and
17   GBP, Plaintiff’s contract with Mr. Diaz would not have been interfered with and
18   harm would not have been caused. The conduct of MTK, MTK USA, Mr. Gibson,
19   and GBP is the substantial factor in causing Plaintiff’s harm.
20         185. But for the inducement of Mr. Diaz by MTK and MTK USA, Mr.
21   Diaz would not have breached his contract. If GBP did not condone this
22   inducement, Mr. Diaz would not have been induced to breach. The conduct of
23   MTK, MTK Global, and GBP are the substantial factors in causing Plaintiff’s
24   harm. A person is not justified in inducing a breach of contract simply because
25   they are in competition with one of the parties to the contract and seeks to further
26   their own economic advantage at the expense of another.
27         193. WHEREFORE, Plaintiff requests that this Court enter judgment
28                                     SECOND AMENDED
                                             -61-
     THIRD AMENDED COMPLAINT 61
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 1   against these defendants as follows: actual damages, reasonable attorney’s fees,
 2   and the costs of bringing the suit, all in an amount to be determined at trial.
 3                             EIGHTH CAUSE OF ACTION
 4            Intentional Interference with Prospective Economic Relations
 5                          (Against MTK, MTK USA, and GBP)
 6         151.194.      Plaintiff incorporates by reference and realleges each and every
 7   allegation contained in the paragraphs above as though fully set forth herein.
 8         152.195.      Defendants MTK, MTK USA, and GBP intentionally interfered
 9   with an economic relationship between Mr. Heredia and Mr. Joseph Diaz, Jr. that
10   probably would have resulted in an economic benefit to Mr. Heredia. Namely, Mr.
11   Heredia had a contract with Mr. Diaz for boxing management and due to the
12   interference Defendants MTK, MTK USA, and GBP have impacted the future
13   relationship between Mr. Diaz and Mr. HerediaHeredia and Mr. Heredia’s ability
14   to attract other promising boxers to his stable.
15         153. MTK and MTK USA knew of the relationship between Mr. Heredia
16   and Mr. Diaz and yet offered Mr. Diaz a $100,000 advance in order to cause him to
17   breach his contract with Mr. Heredia. Separately, GBP knew of the existing
18   relationship as evidenced by the near decade long business relationship GBP has
19   with Mr. Heredia. This also has affected the prospective relationship between Mr.
20   Diaz and Mr. Heredia. MTK and MTK USA did these acts without the knowledge
21   or consent of Mr. Heredia and did so with the intent of taking over as Mr. Diaz’s
22   manager. At all relevant times, Mr. Diaz was still under contract with Mr. Heredia.
23         154. MTK, MTK USA, and GBP engaged in specific conduct aimed at
24   interfering with Mr. Heredia’s business relationship with Mr. Diaz. MTK and
25   MTK USA encouraged Mr. Diaz not to communicate Mr. Heredia, unlawfully
26   inserted themselves as the managers for Mr. Diaz, and engaged in a social media
27   smear campaign of Mr. Heredia. GBP has colluded with MTK and MTK USA and
28                                      SECOND AMENDED
                                              -62-
     THIRD AMENDED COMPLAINT 62
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 1   negotiated bouts directly with MTK and MTK USA instead of Mr. Diaz’s boxing
 2   manager Mr. Heredia.
 3         155. By engaging in this conduct, MTK, MTK USA, and GBP intended to
 4   disrupt the relationship or knew that disruption of the relationship was certain or
 5   substantially certain to occur.
 6         156. The relationship has been disrupted and Mr. Diaz no longer
 7   communicates with or desires to be managed by Mr. Heredia.
 8         157. Mr. Heredia has been harmed by this interference.
 9         158. MTK, MTK USA, and GBP’s conduct were the substantial factor in
10   causing Mr. Heredia’s harm. After Mr. Diaz became a world champion, MTK and
11   MTK USA reached out to Mr. Diaz and offered him an advance of $100,000 in
12   exchange for Mr. Diaz signing a purported business advisory agreement. This act
13   caused the deterioration of the relationship between Mr. Diaz and Mr. Heredia and
14   effected and continues to affect the prospective relationship between the parties.
15   GBP continues to negotiate with MTK and MTK USA as evidenced by the July 9,
16   2021 bout.
17         196. At all relevant times, there was a Boxer-Manager Contract (2017
18   Contract) between Mr. Heredia and a third party, Mr. Joseph Diaz, Jr. This contract
19   was signed on February 23, 2017 before the California State Athletic Commission
20   and would have lasted five years, but on July 10, 2021 was canceled by the
21   Executive Director of the Commission. During all relevant times this contract was
22   valid and enforceable.
23         197. MTK, MTK USA, and GBP knew that this contract existed, and that it
24   required Mr. Heredia to be paid 18% of Mr. Diaz’ bout income as a management
25   fee. As a result of the Defendants’ interference Mr. Diaz instructed GBP not to pay
26   Mr. Heredia his lawfully-owed management fees on two separate occasions: once
27   in connection with a February 13, 2021 bout, and once in connection with a July 9,
28                                     SECOND AMENDED
                                             -63-
     THIRD AMENDED COMPLAINT 63
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 1   2021 bout.
 2         198. MTK, MTK USA, and GBP performed intentional acts designed to
 3   induce a breach or disruption of the contractual relationship between Mr. Heredia
 4   and Mr. Diaz by their instructing Mr. Diaz to order GBP to withhold from Mr.
 5   Heredia his contractually-required 18% management fee from the February 13,
 6   2021 bout and from the July 9, 2021 bout, which Mr. Heredia was not paid until
 7   10 days after the arbitration award ordered it.
 8         199. MTK, MTK USA, and GBP did, in fact, breach or disrupt the
 9   contractual relationship between Mr. Heredia and Mr. Diaz by withholding from
10   Mr. Heredia his contractually-required 18% management fee from the February 13,
11   2021 bout – which Mr. Diaz still has not paid – and from the July 9, 2021 bout,
12   which Mr. Heredia was not paid until 10 days after the arbitration award ordered it.
13   MTK, MTK USA, and GBP’s actions in breaching or disrupting the contractual
14   relationship between Mr. Heredia and Mr. Diaz not only interfered with Mr.
15   Heredia’s expectancy, but the defendants engaged in conduct that was wrongful by
16   some legal measure other than the fact of interference itself, for example, by
17   instructing Mr. Diaz to order GBP to withhold funds lawfully earned by, and owed
18   to, Mr. Heredia, this causing Mr. Heredia financial and reputational harm.
19         200. But for MTK, MTK USA, and GBP’s actions in interfering, the
20   payment of Mr. Heredia’s bout fees, owed to him under the 2017 Contract, would
21   have been timely performed and Mr. Heredia would have been better able to attract
22   other boxers to his management stable, which would have earned him additional
23   management fees.
24         201. MTK, MTK USA, Mr. Gibson, and GBP’s actions caused Mr.
25   Heredia damages, by instructing Mr. Diaz to order GBP to withhold from Mr.
26   Heredia monies contractually-owed to him by Mr. Diaz, thus causing Mr. Heredia
27   to lose the use of the funds that he was lawfully owed during the time that they
28                                     SECOND AMENDED
                                             -64-
     THIRD AMENDED COMPLAINT 64
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 1   were unlawfully withheld from him, for the July 9, 2021 bout, and to this day, for
 2   the February 13, 2021 bout.
 3         202. Further, MTK, MTK USA, Mr. Gibson, and GBP’s actions have
 4   harmed Mr. Heredia in other ways. For example, Mr. Heredia lost oversight of Mr.
 5   Diaz, the boxer he managed. Mr. Heredia is being smeared on social media and has
 6   lost business goodwill as others see their rights and contracts being trampled upon
 7   by MTK, MTK USA, and GBP.
 8         203. Further, Mr. Heredia’s relationship with other currently signed boxers
 9   has been hampered. Even more, Mr. Heredia’s ability to attract new promising
10   boxers to his stable has been hampered by this interference, thus potentially costing
11   him management fees from his management of those boxers who elected not to sign
12   with him. Finally, Mr. Heredia’s business relationship with GBP has also been
13   negatively affected.
14         204. MTK, MTK USA, and their agents to include VGC, and GBP’s
15   conduct were the substantial factors in causing Plaintiff’s harm. But for the
16   interference of MTK, MTK USA, Mr. Gibson and GBP, Plaintiff’s contract with
17   Mr. Diaz would not have been interfered with and harm would not have been
18   caused. The conduct of MTK, MTK USA, and GBP is the substantial factor in
19   causing Plaintiff’s harm.
20         205. WHEREFORE, Plaintiff requests that this Court enter judgment
21   against these defendants as follows: actual damages, reasonable attorney’s fees,
22   and the costs of bringing the suit, all in an amount to be determined at trial.
23                               NINTH CAUSE OF ACTION
24             Negligent Interference with Prospective Economic Relations
25                          (Against MTK, and MTK USA, and GBP))
26         159.206.      Plaintiff incorporates by reference and realleges each and every
27   allegation contained in the paragraphs above as though fully set forth herein.
28                                      SECOND AMENDED
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     THIRD AMENDED COMPLAINT 65
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 1         160. Mr. Heredia and GBP have an economic relationship that probably
 2   would have resulted in an economic benefit to Mr. Heredia.
 3         161.207.       GBP, MTK USA, and MTK know or should have known of the
 4   relationship.
 5         162.208.       GBP, MTK USA, and MTK know or should have known that
 6   this relationship would be disrupted if they failed to act with reasonable care.
 7         163.209.       GBP, MTK USA, and MTK failed to act with reasonable care.
 8         164.210.       GBP, MTK USA, and MTK have engaged in wrongful conduct
 9   through, inter alia, inducing breach of contract, tortious interference with contract,
10   violations of statutory authority with respect to boxing management.
11         165.211.       Mr. Heredia’s relationship with Mr. Diaz and Mr. Feliciano
12   havehas been disrupted by GBP, MTK USA, and MTK’s actions.
13         166.212.       GBP, MTK USA, and MTK’s wrongful conduct are a
14   substantial factor in causing harm to Mr. Heredia.
15         167.      This wrongful conduct has resulted in financial harm to Mr. Heredia
16   to include loss of management fees from Mr. Diaz and lost business opportunity
17   and management fees relating to Mr. Feliciano.
18                              TENTH CAUSE OF ACTION
19        Tortious Interference with Contract Boxer Manager Contract Luis
20                                         Feliciano
21                                       (Against GBP)
22         168. Plaintiff incorporates by reference and realleges each and every
23   allegation contained in the paragraphs above as though fully set forth herein.
24         169. At all relevant times, an exclusive boxer manager contract existed
25   between Plaintiff and a third party Mr. Luis Feliciano. This contract was signed on
26   March 23, 2017 before the California State Athletic Commission and lasts for five
27   years. This contract is valid and enforceable.
28                                      SECOND AMENDED
                                              -66-
     THIRD AMENDED COMPLAINT 66
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 1         170. GBP’s conduct prevented performance or made the performance of
 2   this contract more expensive or difficult. GBP has made several communications
 3   to Mr. Feliciano through their employee Mr. Ernie Gabion. The communications
 4   started around August 2019. Mr. Heredia spoke to Mr. Gabion and stated not to
 5   contact Mr. Feliciano or any of his professional boxers directly and that any
 6   communications from GBP need to come to him, Mr. Heredia. In early March of
 7   2020, Mr. Heredia reiterated this issue with Mr. Oscar De La Hoya, founder and
 8   CEO of GBP and Eric Gomez, President of GBP. Despite being under contract and
 9   despite these communications, on December 1, December 8, December 11, and
10   December 16, 2020, Mr. Gabion called and left messages for Mr. Feliciano. In the
11   December 11, 2020 message Mr. Gabion discusses talking with high ranking/c
12   suite GBP employees, Robert Diaz and Eric Gomez. On December 16, 2020, Mr.
13   Gabion related Mr. Feliciano’s message to Mr. Robert Diaz, that communications
14   where going through counsel, and that “I see you and Golden Boy lasting for a
15   long time.” Further he provided Mr. Robert Diaz’s number to Mr. Feliciano in
16   order to get Mr. Robert Diaz’s “perspective.” These communications have caused
17   Mr. Heredia additional work and caused the performance of the contract to be
18   more expensive and complicated. GBP is a “stranger” to the boxer manager
19   contract and are liable in tort for their intentional interference. These actions have
20   caused Mr. Heredia additional time and expenses to include hiring counsel to assert
21   his rights. Mr. Heredia used additional time and effort to stop the interference, to
22   console their boxer and quash any negative thoughts so that Mr. Feliciano can
23   focus on his boxing career.
24         171. GBP intended to disrupt the performance of this contract and/or knew
25   that disruption of performance as certain or substantially certain to occur. GBP’s
26   communications are intended to sow doubt in Mr. Feliciano and the management
27   he receives from Mr. Heredia. GBP wants this disruption to occur as their goal is to
28                                      SECOND AMENDED
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 1   cause Mr. Feliciano to breach or not renew his management contract with Mr.
 2   Heredia.
 3         172. Mr. Heredia has been harmed by the actions of GBP. Mr. Heredia
 4   fulfilled a firewall function between the promoter and the boxer which is being
 5   trampled upon. Mr. Heredia’s relationship with Mr. Feliciano has been negatively
 6   affected.
 7         173. GBP’s conduct is the substantial factors in causing Plaintiff’s harm.
 8   But for the interference of GBP, Plaintiff’s contract with Mr. Feliciano would not
 9   have been interfered with and harm would not have been caused. The conduct of
10   GBP is the substantial factor in causing Plaintiff’s harm.
11                           ELEVENTH CAUSE OF ACTION
12               Breach of Implied Covenant of Good Faith and Fair Dealing
13                                      (Against GBP)
14         174. Plaintiff incorporates by reference and realleges each and every
15   allegation contained in the paragraphs above as though fully set forth herein.
16         175. At all relevant times, there was a boxing promotion contract between
17   Mr. Heredia, Defendant GBP, and a third party Mr. Joseph Diaz, Jr. This contract
18   was signed on March 22, 2017 and lasts for five years. This contract is valid and
19   enforceable.
20         176. Plaintiff did all, or substantially all the significant things that the
21   contract required them to do. Namely, manage the boxing career of Mr. Diaz and
22   act as his representatives.
23         177. All conditions required for GBP’s performance had occurred.
24         178. GBP prevented Plaintiff from receiving a payment of $90,000 (or
25   $72,000 as reduced due to the weight failure) from the bout on February 13, 2021.
26   GBP and Mr. Heredia had an oral agreement that management fees are paid
27   directly from the purse of a bout. This oral agreement concerning the promotion
28                                      SECOND AMENDED
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     THIRD AMENDED COMPLAINT 68
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 1   contract existed for the duration of this contract between Mr. Heredia and GBP..
 2   Further, GBP undermined the contract by negotiating directly with Mr. Gibson and
 3   MTK instead of Mr. Heredia. GBP has discretionary power affecting Plaintiff. In
 4   this instance, GBP did not exercise that power in good faith. GBP unfairly
 5   frustrated Plaintiff’s right to receive the benefits of the agreement made.
 6          179. By not following the customary way payments are conducted, GBP
 7   did not act fairly and in good faith.
 8          180.213.     By not following the customary way payments are conducted,
 9   Plaintiff suffered harm by GBP conduct. Plaintiff has been deprived of $90,000.00
10   (or $72,000 as reduced due to the weight failure) since February 13, 2021.Diaz.
11                                 PRAYER FOR RELIEF
12   WHEREFORE, Plaintiff prays for judgment and an award against Defendants as
13   follows:
14          1.    For compensatory damages in an amount to be determined at trial;
15          2.    For treble damages in an amount to be determined at trial;
16          3.    For pre- and post-judgment interest at the maximum rate allowed by
17   law;
18          4.    For recovery of reasonable attorneys’ fees;
19          5.    For the costs of the suit; and
20          6.    For such other and further relief as the Court deems just and proper.
21          7.    Jury trial is demanded.
22
23   Dated: July 16, 2021April 29, 2022                   Respectfully submitted,
24
25                                           /s/ Rajan O. Dhungana
                                             Rajan O. Dhungana (SBN: 297794)
26                                           FEDERAL PRACTICE GROUP
27                                           14481 Aspen Street
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28                                      SECOND AMENDED
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                                      #:1503



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28                                 SECOND AMENDED
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     THIRD AMENDED COMPLAINT 70
